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                           UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH CAROLINA

                                 CHARLESTON DIVISION

COMMISSIONERS OF PUBLIC WORKS OF )                Civil Action No. 2:21-cv-00042-RMG
THE CITY OF CHARLESTON (d.b.a.                )
Charleston Water System), Individually and on )   CLASS ACTION
Behalf of All Others Similarly Situated,      )
                                              )   AMENDED CLASS ACTION COMPLAINT
                              Plaintiff,      )
                                              )
       vs.                                    )
                                              )
COSTCO WHOLESALE CORPORATION, )
CVS HEALTH CORPORATION,                       )
KIMBERLY-CLARK CORPORATION, THE )                 JURY TRIAL DEMANDED
PROCTER & GAMBLE COMPANY,                     )
TARGET CORPORATION, WALGREEN                  )
CO. and WAL-MART, INC.,                       )
                                              )
                              Defendants.
                                              )
                                              )
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       The Commissioners of Public Works of the City of Charleston (d.b.a. “Charleston Water

System”) (“Plaintiff”) brings this action on behalf of itself and all other similarly situated entities

that own and/or operate sewage or wastewater conveyance and treatment systems, including

municipalities, authorities, and wastewater districts (collectively, “STP Operators”), and alleges

upon information and belief, formed after an inquiry reasonable under the circumstances, except as

to those allegations which pertain to the named Plaintiff (which are alleged on personal knowledge),

as follows:

                                   NATURE OF THE ACTION

       1.      Plaintiff brings this class action against defendants Costco Wholesale Corporation

(“Costco”), CVS Health Corporation (“CVS”), Kimberly-Clark Corporation (“Kimberly-Clark”),

The Procter & Gamble Company (“Procter & Gamble”), Target Corporation (“Target”), Walgreen

Co. (“Walgreens”), and Wal-Mart, Inc. (“Wal-Mart”) (collectively, “Defendants”) to seek injunctive

relief from ongoing and recurring damage caused in large part by Defendants’ deceptive, improper

or unlawful conduct in the design, marketing, manufacturing, distribution and/or sale of wipes

labeled as “flushable.” Purportedly flushable wipes (referred to herein as “Flushable Wipes”)

include all moist wipe products marketed and labeled as safe to flush, safe for plumbing, safe for

sewer systems, and/or biodegradable.

       2.      The term “flushable” is commonly defined and understood to mean suitable for

disposal by flushing down a toilet. For example, “flushability” is defined as: disperses in a

sufficiently short amount of time after flushing to avoid clogging, or other operational problems in,

household and municipal sewage lines, septic systems, and other standard wastewater equipment.

       3.      To be suitable for flushing, an item needs to be able to disperse into smaller pieces

rapidly enough to pass through sewer systems and be appropriate for treatment.




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       4.      Toilet paper has historically been considered the benchmark for flushability because it

begins to break apart upon contact with water. Its small enough pieces pass through sewer and

septic systems without causing clogs. Flushable Wipes, on the other hand, do not perform as

advertised or marketed. As a result, they do not disperse as effectively as toilet paper and can

comingle to cause clogs and treatment problems, making them costly and difficult to manually

remove. Flushable Wipes should not be labeled as “flushable” or safe for sewer or septic systems.

       5.      Because Flushable Wipes are not in fact suitable for flushing, they have caused

countless clogs and damage to Plaintiff, STP Operators, and consumers alike. Clogged sewer lines

can also lead to other problems, such as causing spills to flow onto public and private property, as

well as into lakes, rivers, and oceans, where they can harm public health and the environment. The

Environmental Protection Agency has taken the stance that the public should not flush any type of

wipe.1 Local municipalities and governments spend millions of dollars a year to address and

remediate sewer systems and repair plant equipment that has been damaged by “non-flushable items

(like wet wipes)” and has warned, “[w]hen wipes and other stuff aren’t busy making fatbergs in our

sewers, they are wreaking havoc on our wastewater treatment plants! These materials don’t break

down in the sewer system like toilet paper, so they arrive at our plants jamming mechanisms,

clogging pumps, and breaking critical machinery.”2

       6.      In response to the associated costs, municipalities, wastewater districts, and

organizations throughout the country and abroad have attempted to increase public awareness of the

1
        United States Environmental Protection Agency, Is it okay to flush disinfecting wipes?,
https://www.epa.gov/coronavirus/it-okay-flush-disinfecting-wipes (last visited Aug. 11, 2021).
Unless otherwise noted, internal citations are omitted and emphasis is added throughout.
2
        Trash   it.    Don’t    Flush      it.,   NYC        ENVIRONMENTAL      PROTECTION,
https://www1.nyc.gov/site/dep/whats-new/trash-it-dont-flush-it.page?utm_source=FB&fbclid=
IwAR39RXn1VE6ku-dzLbfdqZXa0uE5scaO_-CIZrPR-PETTvxw5ffpw8kEcyA (last visited
Aug. 11, 2021).



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harmful effects of Flushable Wipes, and their message is further supported by a growing body of

empirical evidence indicating that Flushable Wipes are not suitable for flushing. Defendants,

however, continue to push a contradictory message. Despite knowledge of the massive damage and

costs caused by Flushable Wipes, Defendants continue to falsely market, advertise, label, and/or sell

Flushable Wipes as suitable for flushing, intending for consumers to use the product accordingly and

for the product to continue to enter Plaintiff’s and other STP Operators’ sewer and septic systems.

       7.      Absent Defendants’ actions and marketing tactics, Flushable Wipes would not be

discarded in toilets and, in turn, would not damage, clog, and/or disrupt pump stations, lift stations,

sewer lines and/or wastewater treatment plants’ systems. As long as Defendants continue to claim

that Flushable Wipes are “flushable,” consumers will continue to use them in accordance with

Defendants’ instructions and many may never realize the property damage and risks to public health

and the environment caused by flushing Flushable Wipes.

       8.      Through the ordinary and directed use of Defendants’ Flushable Wipes, Plaintiff and

other STP Operators experienced and will continue to experience clogging and other disruption of

their sewage or wastewater treatment plants, pump stations, lift stations, and/or sewer lines due to

consumers flushing Flushable Wipes as directed by Defendants. Flushable Wipes will continue to

create excessive maintenance and repair-related expenses borne by STP Operators, and ultimately,

the public.   Wet wipes are costing an estimated “billions of dollars a year in worldwide

maintenance”3 and there is no end in sight.

       9.      For the reasons detailed herein, Defendants’ conduct constitutes nuisance, trespass,

negligence, and strict products liability for defective design and failure to warn.


3
       Matt Kessler, Are Wet Wipes Wrecking the World’s Sewers?, THE ATLANTIC (Oct. 14,
2016), https://www.theatlantic.com/science/archive/2016/10/are-wet-wipes-wrecking-the-worlds-
sewers/504098/.



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                                           THE PARTIES

Plaintiff

       10.     Plaintiff Commissioners of Public Works of the City of Charleston (doing business as

Charleston Water System) is a corporate body politic formed pursuant to the South Carolina Code of

Laws, Sections 5-31-210, -220, and -250. It has its principal place of business at 103 St. Philip

Street, Charleston, South Carolina 29403. Plaintiff is, and was at all relevant times, a public water

and wastewater utility providing clean water and sewer services to the Greater Charleston area.

Plaintiff provides water service through its Hanahan Water Treatment Plant, which produces high

quality drinking water delivered to customers through 1,800 miles of water mains. Plaintiff provides

sewer service through 800 miles of collection mains, over 209 pump stations, and 12 miles of deep

tunnels that carry wastewater to Plaintiff’s Plum Island Wastewater Treatment Plant. The Plum

Island plant treats an average of 25 million gallons a day and discharges that highly treated water

into Charleston harbor. Plaintiff is committed to protecting public health and the environment, and

maintaining reliable sewer services is integral to that goal. Plaintiff has been and will continue to be

burdened with unnecessary expenses in connection with repairs, maintenance and/or other damage to

its sewage treatment plants caused by Defendants’ design, distribution, manufacture, marketing

and/or sale of Flushable Wipes. Defendants’ Flushable Wipes have caused sewer overflows (which

put Plaintiff in violation of its federal and state sewerage permits), necessitated increased

maintenance of Plaintiff’s sewer system, damaged the system, and interfered with the treatment of

wastewater at the Plum Island facility.

Defendants

       11.     The Defendants listed in the following paragraphs design, manufacture, market,

distribute and/or sell (directly or indirectly) wipes products labeled as being “flushable.” These

Flushable Wipes have caused clogging and other damage to Plaintiff’s and Class members’ sewer


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systems. Flushable Wipes manufactured and/or sold by Defendants are widely available for sale in

and around the City of Charleston, in South Carolina and throughout the United States, and dominate

the market for such products.4

       12.     Defendant Costco is a Washington corporation headquartered in Issaquah,

Washington. Together with its subsidiaries, Costco operates membership warehouses. The

company offers branded and private-label products in a range of merchandise categories, including

Kirkland Signature, its generic line, under which Costco manufactures through third parties and sells

Kirkland Signature Flushable Wipes.

       13.     Defendant CVS is a Delaware corporation headquartered in Woonsocket, Rhode

Island. Together with its subsidiaries, CVS provides integrated pharmacy health care services in the

United States. CVS offers branded and private-label products in a range of merchandise categories,

including Total Home, its generic line. CVS manufactures through third parties and sells CVS Total

Home Flushable Moist Wipes, CVS Flushable Cleansing Wipes and CVS Ultra Soft Flushable

Cleansing Wipes under its generic brand.

       14.     Defendant Kimberly-Clark is a Delaware corporation headquartered in Dallas, Texas.

Together with its subsidiaries, Kimberly-Clark manufactures and markets personal care, consumer

tissue, and health care products worldwide. The company operates in four segments: Personal Care,

Consumer Tissue, K-C Professional, and Health Care. Kimberly-Clark manufactures and sells

4
       See, e.g., Global Flushable Wipes Market Growth, 2021 Top Countries Data Analysis,
Growth Factors, Business Challenges, Covid-19 Impact, Future Demand, Development Trends and
Forecast to 2025, WBOC (May 13, 2021), https://www.wboc.com/story/43878765/global-flushable-
wipes-market-growth-2021-top-countries-data-analysis-growth-factors-business-challenges-covid-
19-impact-future-demand-development (referencing defendants Kimberly-Clark and Procter &
Gamble, along with Nice-Pak Products, Inc. (“Nice-Pak”), which manufactures Flushable Wipes for
defendants Costco, CVS and Target, and Equate – defendant Wal-Mart’s Flushable Wipes brand – as
the “Top Manufactures of [the] Flushable Wipes Market”); see also ECF No. 65-1 (Declaration of
Barry Orr) at ¶6 (noting that Defendants’ Flushable Wipes “represent a substantial share of the U.S.
market for flushable wipes”).



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Flushable Wipes under the Cottonelle brand. Kimberly-Clark manufactures Flushable Wipes at its

Beech Island, South Carolina plant, which is the company’s “largest and most technologically

advanced manufacturing plant in North America.”5 On April 26, 2021, Plaintiff filed a motion for

preliminary approval of a settlement between it and Kimberly-Clark (the “Kimberly-Clark

Settlement”) given the exceedingly better dispersibility performance of Kimberly-Clark’s Cottonelle

Flushable Wipes and commitment to fully comply with the IWSFG flushability specifications

(discussed below) by May 1, 2022. ECF No. 59.

       15.     Defendant Procter & Gamble is an Ohio corporation headquartered in Cincinnati,

Ohio. Together with its subsidiaries, Procter & Gamble manufactures and sells branded consumer

packaged goods. Procter & Gamble operates through five segments: Beauty Care, Grooming, Health

Care, Fabric & Home Care, and Baby & Family Care. The Baby & Family Care segment offers

baby wipes, diapers, paper towels, tissues, and toilet paper under brand names such as: Bounty,

Charmin, and Pampers. Procter & Gamble manufactures and sells Flushable Wipes under its

Charmin and Pampers Kandoo brands.

       16.     Defendant Target is a Minnesota corporation headquartered in Minneapolis,

Minnesota, and it operates general merchandise stores in the United States. Target offers household

essentials, hardlines (consisting of music, movies, books, computer software, sporting goods, toys

and electronics), apparel and accessories, food and pet supplies, and home furnishings and décor.

The company manufactures through third parties and sells Flushable Wipes under its generic,

Up&Up brand.




5
      See Damon Cline, Kimberly-Clark plant celebrates 50 years in Beech Island, THE
AUGUSTA CHRONICLE (Nov. 8, 2018), https://www.augustachronicle.com/news
/20181108/kimberly-clark-plant-celebrates-50-years-in-beech-island.



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       17.     Defendant Walgreens is a subsidiary of Walgreens Boots Alliance, Inc. (“WBA”) and

is headquartered in Deerfield, Illinois. Walgreens operates one of the largest pharmacy store chains

in the United States, and operates stores in the greater Charleston, South Carolina area that sell

Flushable Wipes.

       18.     Defendant Wal-Mart is a Delaware corporation headquartered in Bentonville,

Arkansas, with stores and distribution centers located throughout the United States. The company is

a retail business offering a range of merchandise categories. It offers candy, snack foods, tobacco,

alcoholic and nonalcoholic beverages, and cleaning and institutional supplies; appliances,

electronics, health and beauty aids, hardware, office supplies, toys, seasonal items, and automotive

supplies; and dry and institutionally packaged foods. Wal-Mart manufactures through third parties

and sells Flushable Wipes under the Equate and Great Value brands.

       19.     Defendants, upon becoming involved with the manufacturing, distributing,

advertising, marketing and/or sale of Flushable Wipes, knew or should have known that their

representations regarding Flushable Wipes have been and continue to be false and misleading.

                                JURISDICTION AND VENUE

       20.     The Court has jurisdiction under 28 U.S.C. §1332(d) - the Class Action Fairness Act

of 2005 (“CAFA”) - because the amount in controversy exceeds $5 million exclusive of interest and

costs, and this action is brought as a class action of more than 100 potential Class members.

Moreover, the Court has jurisdiction under CAFA because there is minimal diversity of citizenship

between the Plaintiff and the Defendants.

       21.     The amount in controversy exceeds the $5 million threshold under Section 1332(d)

because the value of the injunctive relief sought would provide at least this much in value to

members of the Classes (defined below).




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       22.        This Court also has jurisdiction over this matter, pursuant to 28 U.S.C. §1332(a), in

that the matter in controversy exceeds $75,000, exclusive of interest and costs, and there is complete

diversity of citizenship between the Plaintiff and Defendants.

       23.        Venue properly lies in this District pursuant to 28 U.S.C. §1391(b) and in the

Charleston Division pursuant to Local Civ. Rule 3.01 (D.S.C.), because Plaintiff resides and

Defendants reside, or are found, have their principal place of business, have an agent, or have

transacted substantial business within the District of South Carolina within the meaning of 28 U.S.C.

§1391(b) and the Charleston Division within the meaning of Local Civ. Rule 3.01 (D.S.C.) as

defined in 28 U.S.C. §1391(c), and because a substantial part of the events giving rise to the claims

alleged herein occurred in the District of South Carolina and the Charleston Division.

                                    FACTUAL ALLEGATIONS

                          Background on the “Flushable” Wipes Industry

       24.        In the mid-1990s, Kimberly-Clark first began selling a form of purportedly

“flushable” wipes. In 2001, The New York Times reported that Kimberly-Clark spent $100 million

to develop a new flushable moistened toilet paper product and had budgeted another $40 million to

market it. At the time, J.P. Morgan Chase analyst commented on the effort, “[y]ou would not think

of this as a category that they could do innovation, and here they are. . . . They are swinging for a

big one here.”6

       25.        The launch of Kimberly-Clark’s Rollwipes flushable product in the early 2000s

triggered competition by branded and private label companies who sought to enter the “flushable”




6
        Julian E. Barnes, Kimberly-Clark to Sell Moistened Toilet Paper, THE NEW YORK TIMES
(Jan. 17, 2001), https://www.nytimes.com/2001/01/17/business/kimberly-clark-to-sell-moistened-
toilet-paper.html.



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space.7 While the premoistened wipe-on-a-roll format proved unsuccessful, Kimberly-Clark

reformatted the product as a sheeted wipe in a tub that was “flushable by size.”8 Today, Defendants

endeavor, albeit largely unsuccessfully, to make their wipes break apart or disperse naturally, or

more commonly, with agitation in water.

       26.     The Flushable Wipes industry is growing at over twice the rate of all nonwovens and

all nonwoven wipes. In 2010, Flushable Wipes accounted for $796 million in sales, increasing to

$1.4 billion in sales by 2015. Sales were projected to reach $2.7 billion by 2020, indicating that the

market is approximately doubling every five years.9

       27.     However, as the industry continues to grow, a fundamental product flaw has become

more apparent and problematic – Defendants’ Flushable Wipes, with the exception of Kimberly-

Clark’s Cottonelle Flushable Wipes once they achieve the IWSFG 2020 specification (discussed

below), are not in fact flushable under the wastewater industry’s flushability standard. Indeed, given

that “package labelling influences both consumers’ decision to buy [wipes] and their choice of

disposal methods,”10 Flushable Wipes have become “public enemy No. 1 for water reclamation.”11




7
        One of the most important trends in flushable wipes is the move away from “flushable by
size” to truly dispersible wipes, INNOVATION IN TEXTILES (Aug. 18, 2017),
https://www.innovationintextiles.com/key-trends-driving-flushable-wipes-market/.
8
       Id.
9
       Id.
10
        Darko Joksimovic, Anum Khan, Barry Orr, Inappropriate disposal of ‘flushable’ consumer
products – reasons for concern, IWA PUBLISHING (Feb. 26, 2020), https://iwaponline.com/
wst/article/81/1/102/72457/Inappropriate-disposal-of-flushable-consumer.
11
        Stacey Marquis, Flushed But Not Forgotten, WUFT NEWS, https://www.wuft.org/
specials/water/flushed-but-not-forgotten/ (last visited Aug. 11, 2021).



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                        Defendants’ Wipes are Unsuitable for Flushing

        28.    The word “flushable” is commonly understood to mean “suitable for disposal by

flushing down a toilet,” meaning that it would not only clear the user’s home plumbing system, but

that it would not harm the downstream sewer system – whether municipal, septic or otherwise.

        29.    Many items have been shown to clear a toilet, and perhaps even a home’s plumbing

system, that are not and should not be labeled as flushable, including golf balls and matchbox cars.12

Those items are not flushable, because, despite the fact that they might clear a toilet or a home

piping system, they will not break down in the toilet, in the plumbing system, or at any point in the

sewer system. They will clog sewers and arrive intact at pump stations and/or downstream treatment

facilities.

        30.    A product labeled as “flushable” must break apart or disperse in a reasonable period

of time. Defendants’ Flushable Wipes do not break apart or disperse in a reasonable period of time,

resulting in massive continuous damage, as described herein.

        31.    There are multiple definitions for “flushability” and the term “flushable.” They

include:

               (a)     Public testimony in federal litigation by Robert Villée, the Executive Director

of the Plainfield Area Regional Sewerage Authority (“PARSA”) and former chair of the Water

Environment Federation. He stated that for a product to be labeled “flushable,” the “product should

clear the homeowner’s toilet and piping without causing problems and quickly begin to lose strength


12
        PlumbersSurplus, American Standard Chamipon4 Flushing Demo, YOUTUBE,
https://www.youtube.com/watch?v=gaWDH16SqVs (last visited Aug. 11, 2021) (demonstrating an
American Standard toilet’s ability to clear 18 golf balls, at 0:45); Metcraft, Flushing 40 Golf Balls,
YOUTUBE, https://www.youtube.com/watch?v=6Tk1I0u0SVs (last visited Aug. 11, 2021)
(demonstrating an Metcraft HET toilet’s ability to clear 40 golf balls); 105.7 the Point, Will it Flush
– Matchbox Cars, YOUTUBE, https://www.youtube.com/watch?v=xV_1K_znAoE (last visited
Aug. 11, 2021) (demonstrating Kohler toilet’s ability to flush matchbox cars, at 1:58).



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and/or disperse so it doesn’t cause problems for either the homeowner []or the municipal sewer

system.”13

               (b)     As part of its Final Consent Order with Nice-Pak – which manufactures

Flushable Wipes for defendants Costco, CVS and Target – in October 2015, the Federal Trade

Commission (“FTC”) provided guidance that “flushable” means a product must “disperse[] in a

sufficiently short amount of time after flushing to avoid clogging, or other operational problems in,

household and municipal sewage lines, septic systems, and other standard wastewater equipment.”14

               (c)     The Water Environment Foundation (“WEF”), an international nonprofit

association of approximately 35,000 water quality professionals worldwide, has stated that for a

product to be truly “flushable,” it must be dispersible. In an interview, one of its employees

discussed the term:

       The industry reference for dispersability is two-ply toilet paper . . . [which] starts to
       break apart when the toilet is flushed and is indistinguishable in the wastewater
       system in a matter of seconds. . . . Anything labeled as flushable should start to break
       apart during the flush and completely disperse within 5 minutes. . . . Our mantra is,
       “It’s not flushable if it’s not dispersible[.]”15

               (d)     More than 25 countries and several hundred organizations and municipalities

have joined together to publish a November 2020 statement regarding so-called flushable wipes

products, concluding that: (1) only human waste and toilet paper should be flushed; (2) “[w]ipes

labeled ‘Flushable’ based on passing a manufacturers’ trade association guidance document should

13
       The testimony was provided in two related cases against flushable wipes manufacturers
pending in the Eastern District of New York: Kurtz v. Kimberly-Clark Corp., et al., No. 1:14-cv-
01142 (PKC)(RML) and Belfiore v. Procter & Gamble Co., No. 2:14-cv-04090 (PKC)(RML).
14
      In the Matter of Nice-Pak Products, Inc., No. C-4556, (F.T.C. Oct. 30, 2015), Decision and
Order at 3 (the “Consent Order”), available at https://www.ftc.gov/system/files/
documents/cases/151102nice-pakdo.pdf.
15
       Jennifer Fulcher, Stop, Don’t Flush That, WATER ENVIRONMENT FEDERATION HIGHLIGHTS
(June 12, 2013), https://news.wef.org/stop-dont-flush-that/.



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be labelled ‘Do Not Flush’ until there is a standard agreed by the water and wastewater industry”;

(3) any product that might be labeled in the future as “flushable” should “pass a technical standard

[which has been] developed and agreed to by the water and wastewater industry . . . [p]referably . . .

under the banner of the International Standards Organization (ISO)”; and (4) “[k]ey requirements for

any standard include that the product:

                       (i)     breaks into small pieces quickly;

                       (ii)    must not be buoyant; [and]

                       (iii)   does not contain plastic or regenerated cellulose and only contains

materials which will readily degrade in a range of natural environments.”16

       32.     Defendants’ Flushable Wipes – with limited exceptions (discussed below) – do not

meet the tests set by any of these recognized, neutral standards.

       33.     To support their “flushable” claims, some Defendants have attempted to rely on the

fact that many of their products meet guidelines published by “INDA,” the Association of the

Nonwoven Fabrics Industry. For example, INDA’s fourth edition guidelines state that for a product

to be “deemed flushable there must be evidence indicating that it: [(1)] clear toilets and properly

maintained drainage pipe systems when the suppliers recommended usage instructions are correctly

followed; [(2)] passes through properly maintained wastewater conveyance systems and is

compatible with wastewater treatment, reuse and disposal systems without causing system blockage,

clogging or other operational problems; and [(3)] is unrecognizable in effluent leaving on-site and




16
         International water industry position statement on non- flushable and ‘flushable’ labeled
products, WATER ENVIRONMENT FEDERATION, https://www.wef.org/globalassets/assets-wef/5---
advocacy/policy-statements/position-statements/international-flushability-statement-jan-2017.pdf
(last visited Aug. 11, 2021).



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municipal wastewater treatment systems and in digested sludge from wastewater treatment plants

that are applied to soil.17

        34.      Even under this standard, Defendants’ Flushable Wipes largely fail, because they

cause system blockages and clogs and otherwise interfere with the proper conveyance and treatment

of sewage.

        35.      Additionally, INDA was created and is funded by the manufacturers and retailers of

“flushable” products, and its guidelines are fundamentally flawed. Most notably, they do not address

dispersibility. They also fail to replicate real world conditions, exclude independent input from

members of the wastewater community or any independent industry personnel, and allow the

“flushable” products to fail one or more tests without repercussions. In fact, during the notice and

comment period prior to entry of the Final Consent Order between the FTC and Nice-Pak (discussed

below), the New York City Law Department requested that Nice-Pak not be permitted “to rely on the

INDA standard … developed by representatives of the nonwoven fabrics industry[.]” See ECF

No. 65 at 4-5 (citing In the Matter of Nice-Pak Products, Inc., No. C-4556 (F.T.C. Oct. 30, 2015);

Consent Order at 3). The City explained that it “does not consider the INDA standard to be a

‘standard[] generally accepted’ in the wastewater treatment field, does not believe the dispersal

standards used by the INDA standard are representative of the ‘physical conditions of the

environment’ that wipes meet in sewer and wastewater treatment infrastructure, and does not

consider the evidence on which the INDA standard relies to be ‘competent and reliable.’” ECF

No. 65 at n.5.



17
       See Guidelines for Assessing the Flushability of Disposable Nonwoven Products, EDANA
Fourth     Edition     (May      2018),      https://www.edana.org/docs/default-source/product-
stewardship/guidelines-for-assessing-the-flushability-of-disposable-nonwoven-products-ed-4-
finalb76f3ccdd5286df88968ff0000bfc5c0.pdf?sfvrsn=34b4409b_2.



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       36.     The fact that Defendants’ Flushable Wipes are not suitable for flushing down a toilet

is also corroborated by the fact that they do not meet other international standards, including the

published guidelines of the International Water Services Flushability Group (“IWSFG”) – an

“international coalition of national and regional wastewater services’ associations, organizations and

individual wastewater services.”18

       37.     The IWSFG recently published three specifications for determining “the criteria that a

product should meet to be compatible with being flushed down a toilet.”19 “Publicly Available

Specification (PAS) 1,” establishes five requirements, all of which must be met: environmental

protection; toilet and drain line clearance; disintegration (“PAS 3 2020”); settling; and

biodisintegration.20    On information and belief, Defendants’ Flushable Wipes violate these

guidelines, which were established directly as a result of the wipe-related crisis many sewer

operators are facing. As discussed further below, while defendant Kimberly-Clark’s Flushable

Wipes performed exceedingly better than other Defendants’ Flushable Wipes in recent PAS 3 2020

testing, at this time, Kimberly-Clark has not committed to meeting the IWSFG Flushability

Specifications (specifically, PAS 3 2020) until May 2022. See ECF No. 59-2 (Stipulation of

Settlement), ¶2.1(a).

       38.     Recent studies further highlight the mislabeling of Flushable Wipes. For example,

the National Association of Clean Water Agencies (“NACWA”) conducted a nationwide study



18
        IWSFG, Publicly Available Specification (PAS) 1: 2020 Criteria for Recognition as a
Flushable Product (Dec. 2020), https://www.iwsfg.org/wp-content/uploads/2021/06/IWSFG-PAS-1-
Criteria-for-Recognition-as-a-Flushable-Product.pdf.
19
        IWSFG, IWSFG Flushability Specifications, https://www.iwsfg.org/iwsfg-flushability-
specification/ (last visited Aug. 11, 2021).
20
       PAS 1, supra note 18 at 8.



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addressing the cost of wipes in 2019, working closely with other national and state organizations.21

The study was designed to provide conservative estimates of the likely cost of wipes in the United

States at both the national and state levels, and is based on data collected from 25 utilities in 19

states, broadly representative of the population of utilities in the United States. Ultimately, NACWA

estimates that wipes result in about $441 million per year in additional operating costs in the

collection systems of clean water utilities in the U.S. and impose over $30,000 in additional

collection system operating costs on the average utility per year. In some states, such as California

and New Jersey, with relatively few utilities and high flows, the average utility pays significantly

more. Plaintiff has paid in excess of $100,000 to remediate wipes in a single event.

                       Testing Highlights the Lack of Empirical Support
                              for Defendants’ “Flushable” Claims

       39.     Numerous tests demonstrate and confirm that wipes labeled and sold as being

“flushable” and/or safe for sewer systems will not actually break down or dissolve in any sewer

system. For example, Plaintiff retained Barry Orr, the Sewer Compliance Officer and Sewer

Outreach and Control Inspector for the City of London, Ontario and the Canadian Water and

Wastewater Association representative on IWSFG, to perform flushability testing on various

Flushable Wipes products manufactured and/or sold by Defendants and labelled as being flushable

and safe for sewer systems. Mr. Orr tested products purchased from retail locations in both South

Carolina and New York, including Flushable Wipes manufactured and/or sold by Costco (Kirkland),

Procter & Gamble (Charmin), Wal-Mart (Equate), Target (Up&Up), Walgreens (Well

Beginnings/Cleansing wipe), CVS Health (Total Home/Ultra-Soft Toddler) and Kimberly-Clark

21
        The Cost of Wipes on America’s Clean Water Utilities, NACWA (Sept. 2020),
https://www.nacwa.org/docs/default-source/resources---public/govaff-3-cost_of_wipes-
1.pdf?sfvrsn=b535fe61_2#:~:text=This%20special%20report%20presents%20the%20results%20of
%20NACWA's%20work.&text=It%20is%20estimated%20that%20North,on%20personal%20wipes
%20in%202019.



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(Cottonelle). The testing was designed to determine whether the products are safe for wastewater

infrastructure. Mr. Orr performed the testing in the first three months of 2021 in the flushability lab

at Ryerson University in Toronto, Ontario.

         40.   Mr. Orr’s testing included subjecting five wipes from each package to the toilet and

drain line test, and evaluating the recaptured wipes using IWSFG’s Public Available Specification

(PAS) 3: 2020 Disintegration Test Methods – Slosh Box test (PAS 3 2020), which evaluates the

wipes’ likelihood of causing harm to wastewater conveyance systems or treatment plants. If a wipe

meets two criteria – line clearance and dispersibility – they are considered unlikely to cause harm. A

result of at least 80% dispersibility is required to pass PAS 3 2020. According to Mr. Orr’s testing,

all of Defendants’ Flushable Wipes – other than Kimberly-Clark’s Cottonelle Flushable Wipes –

failed the PAS 3 2020 test of 80% dispersibility and thus cannot be considered “flushable” under the

IWSFG standard as they are likely to cause harm to wastewater conveyance systems or treatment

plants, and to add an additional expense to municipalities.22 Based on the large Flushable Wipes

market share that these Defendants possess and the fact that they do not adequately disperse in sewer

systems, Mr. Orr found that it was likely that Defendants’ (other than Kimberly-Clark) Flushable

Wipes are a significant cause of wipes-related clogs, blockages, and increased maintenance and other

costs.




22
        While Mr. Orr determined that the Cottonelle Flushable Wipes he tested passed the IWSFG’s
80% PAS 3 2020 flushability acceptance criteria and other IWSFG flushability specifications, as part
of the Kimberly-Clark Settlement, Kimberly-Clark has only confirmed that it currently meets a
slightly lower pass-through percentage of at least 70%, and has committed to meet the 80% criteria
by May 1, 2022. Thus, while Plaintiff has acknowledged the exceedingly better performance of
Cottonelle Flushable based on Mr. Orr’s testing, as part of the Kimberly-Clark Settlement,
Kimberly-Clark has not agreed to ensure that its Flushable Wipes will be fully IWSFG compliant
until May 2022, at which point it has further agreed to confirmatory testing for a period of two years.
See ECF No. 59-2 (Stipulation of Settlement), ¶2.1(a)-(b).



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       41.     In another study conducted at Ryerson University in 2019, researchers examined 101

single-use wipes products, including 23 wipes products labeled as “flushable” by the manufacturer,

and found that none of the products fell apart or dispersed enough to safely pass through an average

home’s plumbing system to the public sewer, or through the sewer system for 30 minutes.”23 The

research team followed the specifications set out by IWSFG at the time. Ultimately, they concluded

that “it is evident that none of the products other than bathroom tissue are ‘flushable.’”24

       42.     Consumer Reports performed independent disintegration tests on Flushable Wipes

that simulated toilet flushing conditions. A video clip depicting the tests shows that toilet paper

broke down in about eight seconds, but after ten minutes, the Flushable Wipes did not break down,

and still did not break down after being placed in a Kitchen Aid mixer for another ten minutes.25

The video concludes: “Our advice: If you use these products, don’t flush them down the toilet.”26

       43.     CBS4 Miami, after investigating damage caused by Flushable Wipes, hired I-P-S

testing, an independent testing facility, to conduct a slosh box test. I-P-S put toilet paper, Flushable

Wipes and non-flushable wipes through the same slosh box test. After one hour, the toilet paper was

barely visible, but the Flushable Wipes and non-flushable wipes were fully intact. After two hours,




23
         See Anum Khan, Barry Orr, Darko Joksimovic, Defining “Flushability” for Sewer Use,
Ryerson University, Final Report, RYAN UNIVERSITY URBAN WATER (Mar. 31, 2019),
https://cwwa.ca/wp-content/uploads/2020/04/Ryerson_flushable_report2019.pdf.
24
       Id. at 16.
25
        Think twice about flushing wet wipes, CONSUMER REPORTS (Dec. 27, 2013),
https://www.consumerreports.org/cro/news/2013/12/think-twice-about-flushing-wet-
wipes/index.htm.
26
        Consumer Reports: Flushable Wipes, EYEWITNESS NEWS, https://abc7ny.com/consumer-
reports-plumbing-flushable-wipes-eyewitness-news/29868/ (last visited Aug. 11, 2021).



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the toilet paper had dispersed completely, the Flushable had “shredded some, but visible chunks still

remain[ed]” and the non-flushable wipes had not changed at all.27

       44.       In 2016, the City of Vancouver, Washington conducted a series of “in-sewer” tests of

allegedly “flushable” wipes, dropping them into a manhole and observing their conditions at a

downstream collection point. The study concluded that nearly all flushable wipes currently on the

market in the United States “cannot be considered safe to flush since they travel through real

sewers intact, with no dispersion.”28 The test found Flushable Wipes completely or nearly

completely intact.29

       45.       In a video posted by the WEF, pretreatment technician Tracy Stevens performed a

“spin test” on multiple household products, including: one ply tissue, three ply tissue, regular toilet

paper, plush toilet paper and multiple brands of Flushable Wipes.30 The products were placed in

beakers filled with water and a spinning blade to simulate flushing, and only toilet paper dispersed

almost immediately.31 After a few minutes, the Flushable Wipes were still completely intact, with

some cloudiness in the beaker that was attributed to lotion on the wipe.32




27
        The Trouble With Wipes In Your Pipes, CBS4 MIAMI (Feb. 4,                               2014),
https://miami.cbslocal.com/2014/02/04/the-trouble-with-wipes-in-your-pipes/.
28
       See Testimony of Cynthia A. Finley, Ph.D., Summary of Field Dispersion Tests,
Attachment B at 9 (Mar. 15, 2017), https://www.nacwa.org/docs/default-source/resources---
public/2017-03-15mdemtest.pdf?sfvrsn=4.
29
       Id. at 11-12.
30
        Water Environment Federation, Will it Flush? Video, YOUTUBE (Jan. 4, 2012),
http://www.youtube.com/watch?v=SLTVqkXVvNk&feature=youtu.be.
31
       See id.
32
       See id.



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       46.     The Orange County Sanitation District also conducted its own test to evaluate the

dispersibility of Flushable Wipes. According to a Staff Report, one sheet of Costco’s Kirkland

Signature Flushable Wipes was placed in a one liter sized beaker filled with tap water and containing

a stir bar, stirring at a speed of 120 rotations per minute.33 The Orange County Sanitation District

found that the wipe did not break down after a full 24 hours, had remained intact with no change in

the wipe’s initial dimensions, and was still recognizable after such time. The Orange County

Sanitation District also evaluated toilet paper using the same test and found that the toilet paper

rapidly dispersed after about 20 seconds. The Orange County Sanitation District concluded that

because wipes are not able to disperse, they adversely affect sewer systems, lift stations and

wastewater treatment plants.34

       47.     INDA’s guidelines for flushability as they relate to the slosh box test allow for the

wipes to undergo far more turbulent conditions than they would typically experience in sewer

systems. Quoting a leading wastewater industry official, a The New York Times article aptly

described the problem with the manufacturers’ version of the slosh box test:

       Critics say the test, which rocks wipes back and forth in a crate of water, does not
       properly mimic the wastewater system, allowing manufacturers to claim flushability
       for a product that may be too sturdy for treatment systems. The test is “a lot more
       turbulent than the flow that you find in a wastewater pipe,” said Cynthia Finley,
       director of regulatory affairs for the National Association of Clean Water Agencies.
       Flushed materials, she added, generally move “on very gentle slopes.”35




33
      Nick Arhontes, P.E., Update on “Flushable but not dispersible,” ORANGE COUNTY
SANITATION DISTRICT (Mar. 17, 2011), https://www.ocsd.com/Home/ShowDocument?id=12438.
34
       Id.
35
       Matt Flegenheimer, Wet Wipes Box Says Flush. New York’s Sewer System Says Don’t, THE
NEW YORK TIMES (Mar. 13, 2015), https://www.nytimes.com/2015/03/15/nyregion/the-wet-wipes-
box-says-flush-but-the-new-york-city-sewer-system-says-dont.html.



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                        Plaintiff’s Experience with Defendants’ Wipes

       48.     Plaintiff is, and was at all relevant times, a public water and wastewater utility serving

the Greater Charleston, South Carolina area.

       49.     Plaintiff owns and/or operates two sewage treatment plants, the Plum Island

Wastewater Treatment Plant, its main facility, and the Daniel Island Plant, a pre-treatment facility.

       50.     Plaintiff provides its sewer service through 800 miles of collection mains, 209

wastewater pump stations, and 12 miles of deep tunnels that carry wastewater to the Plum Island

Wastewater Treatment Plant.

       51.     In addition to other expenses incurred related to Flushable Wipes, for example, in

October 2018, Plaintiff incurred unnecessary expenses in connection with major maintenance of its

sewage facilities due to clogs caused by Flushable Wipes. Divers made three separate dives, 90 feet

down into the wet well of the main pump station bringing sewage to the plant, in order to remove a

mass of wipes resulting from residents flushing Flushable Wipes down their toilets.36 The massive

12-foot long clog containing Flushable Wipes put the plant in significant jeopardy of massive sewer

overflows and cost Plaintiff more than $140,000 in damage and cleanup costs.37

       52.     In response, Plaintiff actively addressed the issue on social media, attempting to

inform the public that just because a wipe says it is “flushable,” does not mean that it breaks down

before reaching Plaintiff’s system. Indeed, they do not break down, as evidenced by the blockage.




36
        Drew Tripp, ‘Flushable’ Wipes Clog Charleston Water System Pipes Again, and the Photos
are Gross, ABC4 NEWS (June 18, 2019), https://abcnews4.com/news/local/flushable-wipes-clog-
charleston-water-system-pipes-again-and-the-photos-are-gross.
37
        Ryan W. Miller, You’re probably using disposable wipes wrong. How to avoid harming the
planet, the sewers, USA TODAY (Sept. 7, 2019), https://www.usatoday.com/story/news/nation
/2019/09/07/disposable-wipes-can-impact-sewers-landfills-waterways-and-health/1777416001/.



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       53.     Mike Saia, Plaintiff’s communications manager, stated, “all wipes will easily flush

down your toilet, but that’s where the unseen problems begin.”38 He elaborated that problems occur

because as customers flush the wipes, they are often covered in grease, oil, hair and waste, which

coat them in a thick layer of grime and hinder them from breaking down, creating “ropelike clumps

that have incredible strength.” When those clumps reach a choke point, such as a pump at a wet well

in Charleston, they can completely disrupt the system.39

       54.     Despite Plaintiff’s efforts to spread awareness, the issue occurred again in June 2019,

with Flushable Wipes blocking pumps in one of Plaintiff’s wastewater processing tanks. Again,

divers made three separate dives into 80-90 feet of sewage to remove the clog.40 The clog disrupted

the sewage system and cost about $60,000 in response costs.41

       55.     Plaintiff’s employees routinely clean its wastewater collection system and remove

large quantities of wipes from Plaintiff’s sewers, pump stations, and other assets. Ex. A (Affidavit

of Baker S. Mordecai, P.E.), at ¶7. Baker S. Mordecai, P.E., Plaintiff’s Director of the Wastewater

Collection Department, believes that these wipes are a combination of flushable and non-flushable

wipes, and that the related blockages are an ongoing problem, can occur at any time, and may lead to

system reliability failures and sewer overflows into public and private property, as well as area

waterways. Id. at ¶10.




38
       Id.
39
       Id.
40
       Alissa Holmes, For second time, ‘flushable wipes’ cause major clog at Charleston Water
System, LIVE5WCSC (June 19, 2019), https://www.live5news.com/2019/06/19/second-time-
flushable-wipes-cause-major-clog-charleston-water-system/.
41
       See Miller, supra note 37.



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       56.     Plaintiff has invested more than $2 million over the past 8 years to install a

Supervisory Control and Data Acquisition (“SCADA”) system at each of its 213 pump stations, to

allow for continuous remote monitoring of each pump station to provide early notification of

potential wipe-related clogs. Id. at ¶11. Plaintiff has also installed screens and/or bar screen

overlays within approach channels at vortexes to capture and remove wipes, which cost $120,000 in

the past five years. Id. at ¶12.

       57.     Plaintiff has increased its collection system inspection and maintenance to reduce

operational risks associated with both flushable and non-flushable wipes, with the cost of

preventative maintenance specific to wipes management within the collection system totaling

$121,506 in 2021 as of May 11, 2021. Id. at ¶19. During this same time period, 201 wheelbarrows

of wipes were removed from Plaintiff’s bar screens at vortex approach channels. Id. at ¶20. The

average annual cost to Plaintiff for wipes-related cleaning of tunnel shafts is $110,000, and from

January 1 through April 28, 2021 alone 2,205 tons of wipes have been removed from the screening

operation and waste disposal pad serving Plaintiff’s treatment facilities, costing $13,243. Id. at ¶21.

       58.     Plaintiff encountered 37 wipes-related clogs and/or pump failures and 29 wipes-

related mainline blockages within its collection system from January 1, 2021 to April 28, 2021,

alone. Id. at ¶¶15-16. During this time, the cost to manage wipes mainline blockages and pump

clogs/failures was $24,991. Id. at ¶16. Also during this time, four wipes-related pump blockages

occurred within the influent pumping stations of Plaintiff’s Plum Island Treatment Plant, and

significant downtime was required to mobilize equipment and divers to remove the clogs, with the

cost of dive services and temporary pumping totally $294,631. Id. at ¶17.

       59.     In February 2021, Plaintiff encountered its first tunnel approach channel blockage at

the Crosstown vortex, which serves Peninsula Charleston. Id. at ¶18. Emergency bypass pumping




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and specialized cutting equipment were needed to remove the wipes at a contracted cost of $59,013.

Id.

        60.    In addition to blockages of Plaintiff’s system, wipes impose costs by causing an

inherent loss of pump efficiency, resulting in decreased pumping flow rates and increased energy

costs. Id. at ¶22. Wipes also cause additional wear on pump impellers, causing reduced efficiencies.

Id.

        61.    Plaintiff anticipates experiencing future clogging and increased costs associated with

operating its sewer treatment plant and removing clogs caused by the buildup of Flushable Wipes.

        62.    Plaintiff has incurred and anticipates incurring expenses in connection with repairs,

maintenance, and/or other damage to its sewage system, including pump stations and its treatment

plant, and faces the continued threat of further repairs, maintenance and/or other damage caused by

Defendants’ design, manufacturing, marketing, distribution and/or sale of Flushable Wipes.

                   Flushable Wipes Wreak Havoc on Sewers and Sewage
              Treatment Facilities Throughout South Carolina and the Country

        63.    According to sewer system officials from across the country, Flushable Wipes wreak

havoc on pumps and machinery in sewers and/or wastewater treatment plants and are a major reason

why wastewater systems clog. Such clogs trigger overflows of untreated sewage to public and

private property as well as waterbodies. Even if Flushable Wipes make it through home plumbing

systems, if they do not fully disintegrate they will inevitably become so comingled and intertwined

that it has been difficult to distinguish one wipe from another.

        64.    Certain STP Operators have purchased and installed grinder pumps, which act like

garbage disposals for tearing up any solid debris flowing through sewage. These grinders are often

ineffective at processing Flushable Wipes because the wipe material or fabric gums-up the

machinery once inside the grinders. Although grinders are capable of tearing through pieces of



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wood, Flushable Wipes can defeat them by getting snagged on various parts of the grinder and

building up until the grinder is completely clogged and inoperable.

       65.     Cynthia Finley, Director of Regulatory Affairs for NACWA, commented on the effect

of Flushable Wipes on STP Operators, saying “‘[c]onsumers are being told by the packaging that

these things are flushable’” and “[a]lthough the material might make it through the toilet and the

pipes leading away from the house, they tend to clog up once in the sewer system. . . . That can

cause huge headaches for the utilities.”42 According to Finley, the problem is occurring “‘all over

the country.’”43

South Carolina

       66.     Plaintiff’s experience with Flushable Wipes is consistent with that of other water

systems and sewer districts in South Carolina. See Ex. B (Affidavit of Chadwick Abrams), at ¶¶7-

17; Ex. C (Affidavit of Michael Fu Man Yip), at ¶¶7-17. For example, both the North Charleston

Sewer District (“NCSD”) and Georgetown County Water and Sewer District (“GCWSD”) routinely

clean their wastewater collection systems and remove large quantities of wipes – both flushable and

non-flushable – from their sewers, pump stations and other assets. Ex. B at ¶¶7-8; Ex. C at ¶¶7-8.

NCSD and GCWSD are continually concerned about wipes-related blockages in their sewer lines,

pump stations, treatment plants and other facilities as wipes-related blockages can occur at any time

and may lead to system reliability failures and sewer overflows. Ex. B at ¶10; Ex. C at ¶10.

       67.     NCSD has spent approximately $1,000,000 to upgrade its SCADA system to keep

communication with pump stations within its collection system. Ex. B at ¶11. NCSD has



42
        Kirsti Marohn, Wipes in the pipes snarling sewers, USA TODAY (July 17, 2013),
http://www.usatoday.com/story/news/nation/2013/07/16/wipes-pollution/2522919/.
43
       Id.



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preventative maintenance programs in place to clean bars screens of wipes weekly and to pump

debris (wipes and other material) on a varied schedule. Id. at ¶12.

       68.     NCSD and GCWSD have increased cleaning schedules within their collection

systems where wipes collect, including pump station wet wells, pump station wet wells, floats,

pumps, mainlines, and/or tunnel system approach channels, vortexes, and shafts. Ex. B at ¶13; Ex. C

at ¶13. Both flushable and non-flushable wipes pose one of the most significant operational risks

within the NCSD and GCWSD collection systems and have required the expenditure of significant

manpower and financial resources. Ex. B at ¶15; Ex. C at ¶15. While NCSD and GCWSD have

increased their collection system inspection and maintenance to reduce operational risks associated

with wipes, wipes-related blockages can occur at any time in their systems. Ex. B at ¶¶16-17; Ex. C

at ¶¶16-17. Concerns about these issues at NCSD and GCWSD have grown during the ongoing

COVID-19 pandemic. Ex. B at ¶17; Ex. C at ¶17.

North Carolina

       69.     In Raleigh, North Carolina, costly sewer overflows and backups are predominately

caused by Flushable Wipes, according to the city’s environmental coordinator for wastewater, Marti

Gibson.44 As a result, Raleigh now has an ordinance prohibiting the flushing of anything except

human waste, toilet paper and water.45

       70.     In February 2017, Raleigh’s public utilities department attributed the clogging of a

sewage pipe that caused an “estimated 39,000 gallons of raw sewage to spill into an unnamed




44
       Id.
45
       Id.



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tributary of Crabtree Creek” to flushing Flushable Wipes.46 Given that INDA headquarters are 12

miles away in Cary, North Carolina, INDA President David Rousse sent an unsolicited email to the

city Public Utilities Director “decrying the city’s assessment that flushable wipes were at fault,”

without any evidence to support his claim.47

       71.     The Public Utilities Assistant Director, T.J. Lynch, responded to David Rousse’s

email later that day by stating, “[w]e have no reason to make up stories about what we are finding in

our collections systems across the country. . . . But we do have a duty to let our customers know

why their environment is being impacted and why their rates are going up.”48 This dispute was aptly

summarized in The News & Observer report as follows:

       The email exchange highlights a national conflict between the wipes industry and
       sewage utilities. The industry claims it has developed products that do sufficiently
       break apart when flushed down the toilet. The utilities say the wipes remain intact
       long enough to get caught up in pipes and pump stations; they say they often become
       magnets for grease and oils that also get improperly washed down the drain to create
       what those in the sewage business call “fatbergs” that gum up pipes.

                                          *      *       *

       Lynch says he’s been to visit INDA and that INDA representatives have come to the
       public utilities department, without producing any real mutual understanding.49




46
       Richard Stradling, City blames ‘flushable wipes’ for sewage clog, THE NEWS &
OBSERVER (Feb. 10, 2017), https://www.newsobserver.com/news/local/counties/wake-
county/article131194829.html.
47
        Richard Stradling, Are flushable wipes really flushable? Raleigh says no, THE NEWS &
OBSERVER         (Apr. 9,      2018),     https://www.newsobserver.com/news/local/counties/wake-
county/article134022739.html (“‘This is a convenient scapegoat to blame to meet the public
reporting needs, but it is likely not the correct diagnosis.’”).
48
       Id.
49
       Id.



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New York

       72.       New York City reportedly spends a staggering $18.8 million per year to “degrease

the sewers, deal with damage caused by sewer backups, and repair our plant equipment that has been

damaged by non-flushable items (like wet wipes) and transport those items to landfill.”50 The City

directly warns the public against the directed use of Flushable Wipes and states that it can cost

between $10,000 and $15,000 to repair a sewer line.

       73.       Deputy Commissioner, Vincent Sapienza, of the New York Department of

Environmental Protection (“D.E.P.”) has stated, “‘[t]he increase in clogs and problems we’ve been

having in New York City – it seems to almost correlate directly with the increase in sales of these

flushable wipes. . . . They make it all the way to the plant and they just wrap themselves around our

equipment.’”51

       74.       The amount of debris removed from New York City’s treatment plants – 110,000

cubic yards worth – is nearly double the amount removed 5 years ago, coinciding with the growing

increase in popularity of Flushable Wipes.52

       75.       Carter Strickland, commissioner of the New York City D.E.P., when interviewed

about the problem flushable wipes are causing, told New York Magazine: “You can safely say [it’s

costing us] millions of dollars.”53


50
        Trash it. Don’t Flush it., NEW YORK CITY ENVIRONMENTAL PROTECTION,
https://www1.nyc.gov/site/dep/whats-new/trash-it-dont-flush-it.page?utm_source=FB&fbclid=
IwAR39RXn1VE6ku-dzLbfdqZXa0uE5scaO_-CIZrPR-PETTvxw5ffpw8kEcyA (last visited
Aug. 11, 2021).
51
       Kathianne Boniello, ‘Flushable’ wipes clogging up drains citywide, NEW YORK POST
(Mar. 2, 2014), https://nypost.com/2014/03/02/flushable-wipes-clogging-up-drains-citywide/.
52
       Id.
53
        Christopher Bonanos, Public Enemy No. 2, NEW YORK MAGAZINE (Oct. 4, 2013),
http://nymag.com/news/intelligencer/flushable-wipes-2013-10/.


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Pennsylvania

       76.     In April 2020, the Bedford Gazette reported that “[t]he COVID-19 virus pandemic

has aggravated a longstanding headache for sewer plant operators” given that “‘Flushable’ wipes,

along with [other] wipes, are clogging pipes and sewer lines, and especially pumps at sewer

treatment facilities.”54 Doug Vitovich, facilities manager for Chestnut Ridge Municipal Authority in

Pennsylvania, “issued a plea [] for people to stop putting the disposable wipes into the system.”

“‘People need to realize the damage it can do to any wastewater treatment facility,’” Vitovich said.

Vitovich explained that “the problem with the ‘flushable’ wipes is not a new one . . . This has been

an ongoing problem . . . They don’t break up the way manufacturers claim they do.”55

       77.     The Pennsylvania Department of Environmental Protection has also warned recently

that Flushable Wipes should not be flushed as instructed, and stated that there has been an increase

in reports of sewage treatment facilities dealing with clogs since the beginning of the COVID-19

stay-at-home orders in March, 2020. The Lower Bucks County Joint Municipal Authority said that

they recently “experienced a sanitary sewer main blocked entirely by ‘flushable’ wipes.”56

Georgia

       78.     In Columbus, Georgia, John Peebles, Senior Vice President of Water Resource

Operations at Columbus Water Works, commented on the enormous amount of money Flushable

Wipes have cost the city and consumers, stating, “[h]ere in Columbus, we’re seeing a real increase in


54
       Paul Rowan, Flushable wipes causing headaches for sewer systems, BEDFORD GAZETTE
(Apr. 8, 2020), https://www.bedfordgazette.com/news/flushable-wipes-causing-headaches-for-
sewer-systems/article_62590245-c32c-5bc6-a064-bbdb44d57c51.html.
55
       Id.
56
        Increase In Sewer Blockages Reported Since Stay-At-Home Order Started, LEVITTOWN NOW
(May 3, 2020), http://levittownnow.com/2020/05/03/increase-in-sewer-blockages-reported-since-
stay-at-home-order-started/.



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the number of man hours it takes to go and service these pumps. . . . We’re looking at probably over

500 man hours annually and a cost of over $100,000 a year in pulling those pumps, and repairing

those pumps, and putting them back into service.”57 The problem, Peebles says, is “‘[flushable

wipes] make their way down the sewer system to our pump, and clog our pump before they break

down.’”58

       79.     To combat the clogs, the city of Columbus installed two devices to cut up debris

before it can clog pumps at a total cost of $250,000.59 Peebles estimates the cost of dealing with

clogging caused by Flushable Wipes is “‘maybe half a million dollars this year.’”60

Florida

       80.     A spokesperson for Indian River County in Florida said that an increase in required

maintenance of the wastewater pumps was, at least in part, attributed to people flushing things that

should not be flushed. The wrong paper products, even those labeled as flushable, attach to solids

and clog the gravity system on their way to the pump stations, which causes backups of the pump

stream. The cost is simple as a couple of hours of a mechanic to get to the pump, shut it down and

get the debris out. However, if the entire pump needs to be replaced, the cost is much higher. A Port

St. Lucie Facebook post pleads people to throw wipes away: “septic tanks, grinder or STEP systems,

and gravity systems are all susceptible to clogs and backups because of wipes: Please help us




57
       Flushable wipes may be costing Columbus Water Works customers extra money,
WTVM.COM (Dec. 11, 2013), https://www.wtvm.com/story/24182046/flushable-toilet-wipes-may-
be-costing-columbus-money/.
58
       Id.
59
       Id.
60
       Id.



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maintain the integrity of our sewer system and always throw wipes away, even if they say

‘flushable.’”61

Texas

        81.       According to Orlandos Spencer, a station operator with the City of Lufkin, Texas,

Flushable Wipes are “‘technically not flushable. But, I mean, people flush them anyway. The

reason they’re not flush-able is because they don’t dissolve.’”62 In Rockwall, Texas, officials have

stated that clogs caused by Flushable Wipes: “require the City’s wastewater crews to shut down the

pumps and manually remove the blockages in order to prevent wastewater from backing up into

houses, businesses, and the environment. Removing these blockages can be not only time

consuming, but costly to the City.”63

        82.       In San Antonio, Texas, where there is over 9,000 miles of sewer line to keep clog-

free, San Antonio Water System (“SAWS”) Communications Director Anne Hayden stated: “Ignore

the flushable label, because it’s not . . . It adds additional layers of cleanup we already have to do to

our pipes. People have to go out in the summer heat and manually extract the buildup and it’s not

pleasant.”64 SAWS crews remove three to five tons of debris, enough to fill a 15-foot-long dump


61
       Cheryl Smith, Toilet paper alternatives clogging sewer systems; don’t flush even ‘flushable’
wipes, TCPALM (Mar. 27, 2020), https://www.tcpalm.com/story/news/local/2020/03/27/toilet-
paper-substitutes-clog-sewer-system-dont-flush-flushables/2926015001/.
62
        Khyati Patel, Using ‘flushable’ wipes? Reconsider what clogs up the sewer, ABC 9 KTRE
(Jan. 17, 2017), https://www.ktre.com/story/34282102/using-flushable-wipes-reconsider-what-clogs-
up-the-sewer/.
63
        Texans Reminded Flushable Wipes Are Not Really Flushable And Shown The Consequences,
CBS LOCAL NEWS (Mar. 17, 2020), https://dfw.cbslocal.com/2020/03/17/texas-flushable-wipes-not-
really-flushable-sewer-systems/.
64
       Sam Peshek, ‘Flushable’ wipes clean everything but sewers, SAN ANTONIO EXPRESS NEWS
(Aug. 11, 2013), http://www.expressnews.com/news/local/article/Flushable-wipes-clean-everything-
but-sewers-4724397.php#/6.



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truck with debris, per day. Joshua Trent, a member of a four-person SAWS crew, explained that

when Flushable Wipes get stuck in the sewer system, they “make it easier for items . . . to become

lodged in siphon boxes.”65

Illinois

           83.    In Germantown Hills, Illinois, Rich Brecklin, the Public Works Director, blames

Flushable Wipes for clogging up village pumps. Brecklin said the reason for the clog is simple: the

wipes that are labeled flushable are not flushable. “‘They’re not flushable in a gravity system;

they’re not flushable in a septic system; and they are especially not flushable in ejection pumps or

grinder pump systems,’” explained Brecklin to Peoria, Illinois’ Journal Star.66

           84.    Brecklin also stated, “‘[i]f you look at these disposable wipes – some say disposable,

some say flushable – if you notice, they’re thicker. They’re woven tighter, and they’re already wet

and not falling apart. . . . They don’t go away. They may make it down to the sewer plant on a

gravity system, and then you’ve got problems at the plant.’”67

Michigan

           85.    Some cities, like Grand Rapids, Michigan, have tried to deal with the problem by

educating their citizens and asking them not to flush Flushable Wipes. Grand Rapids officials sent

out a mass mailing to homeowners reminding them “‘no wipes in the pipes.’”68 One public

education mailer sent out to Grand Rapids homeowners stated, “[c]onvenience wipes such as baby,


65
           Id.
66
      Laura Nightengale, Sanitary wipes causing mess for Germantown Hills sewer system,
JOURNAL STAR (Jan. 30, 2014), http://www.pjstar.com/article/20140130/NEWS
/140139881/10924/NEWS.
67
           Id.
68
           Marohn, supra note 42.



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hygienic, cleaning and disinfectant, as well as toilet bowl scrubbers and even paper towels might be

labeled as ‘disposable or flushable’ but these items should not go down the drain. Products like these

do not break down in the sewer system, causing plugs in sewer pipes and pumps, resulting in sewage

backups, costly cleanups and environmental consequences that can result in rate increases.”69

       86.     In 2020, Macomb County said that it had been removing 4,000 pounds of wipes a

week at one pump station. Candice Miller, the Public Works Commissioner, blamed the problem on

so-called flushable wipes failing to break down.70

California

       87.     In California, the blockages caused by Flushable Wipes are becoming increasingly

costly for sewer districts. For example, the Orange County Sanitation District – the third largest

wastewater treatment agency in California – had 971 “de-ragging” maintenance calls on ten pump

stations in 2010 to 2011 costing the Orange County Sanitation District $320,000 in labor costs.71

Over a more recent five year period, the Orange County Sanitation District spent $2.4 million to

unclog pumps.72

       88.     Moreover, Tyrone Jue, Director of Communications for the San Francisco Public

Utilities Commission, has stated that the City of San Francisco has spent over $4 million a year to

69
        Environment Tip #3, Disposable, Not Flushable, CITY OF GRAND RAPIDS,
https://www.grandrapidsmi.gov/Government/Departments/Environmental-Services/Environmental-
Tips#section-3 (last visited Aug. 11, 2021).
70
       Not-so-flushable wipes cause big spill in northern Michigan town, THE DETROIT NEWS
(Oct. 17, 2020), https://www.detroitnews.com/story/news/local/michigan/2020/10/17/baby-wipes-
sewage-spill-beulah/114428928/.
71
       See Nick J. Arhontes PE, Wastewater utilities take aim at wet wipes, PUBLIC WORKS
(Oct. 15, 2012), http://www.pwmag.com/wastewater/strangled-by-disposables.aspx.
72
       Sharon Verbeten, Toilets Are Not Trashcans, Says NACWA, MUNICIPAL SEWER &
WATER (Feb. 1, 2016), http://www.mswmag.com/online_exclusives/2016/02/toilets_are_not_
trashcans_says_nacwa.



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clean out “fatbergs,” which have been described as “a congealed mass of flushable wipes combined

with cooking oil and gunk.”73

       89.     California’s Water Board warns that anything other than toilet paper will “clog

sewers and cause backups and overflows at wastewater treatment facilities.” The Water Board

advises consumers not to flush anything other than toilet paper down the toilet and instead to throw

them in the trash because the wastewater treatment plants may get overwhelmed with consumers

having plumbing backups and blockages.74

       90.     The San Francisco Public Utilities Commission published a video and a flyer about

what not to flush down toilets: “Toilets are not trashcans! Think Before You Flush.” The flyer lists

the top five things that should not be flushed, having flushable wipes as number one in the list: “The

biggest headache for our wastewater treatment plants! Wipes are NOT biodegradable, and have to be

manually removed from the equipment at our wastewater treatment plants and sent to the landfill.”75

Washington

       91.     In Vancouver, Washington, officials estimated that they have spent over $1 million

replacing three large sewer pumps and eight smaller sewer pumps that were constantly being

clogged.76


73
       truTV, Adam Ruins Everything – Why Flushable Wipes Aren’t Flushable, YOUTUBE
(Nov. 2, 2015) https://www.youtube.com/watch?v=TgHVO-RZ8c4.
74
       Coronavirus: State Water Board Warns ‘Flushable’ Wipes Could Clog Sewer Systems,
CBSN LOS ANGELES (Mar. 18, 2020), https://losangeles.cbslocal.com/2020/03/18/
coronavirus-flushable-wipes-warning-sewer-system-clogs/.
75
        What    Not     to    Flush,     SAN      FRANCISCO     WATER       POWER       SEWER,
https://www.sfpuc.org/learning/water-pollution-prevention/what-not-flush (last visited Aug. 11,
2021).
76
       Carolyn Thompson, What a bummer! ‘Flushable’ wipes blamed for sewer woes, THE
ASSOCIATED PRESS (Sept. 24, 2013), http://www.today.com/money/what-bummer-flushable-
wipes- blamed-sewer-woes-4B11235939.


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       92.        Frustrated with problems caused by Flushable Wipes, Frank Dick, engineering

supervisor for sewer and wastewater services in Vancouver, has conducted his own experiments,

including using fabric dyes to mark wipes labeled flushable and not flushable and sending them

down toilets.77 “He found that neither type broke down on its journey to the treatment plant. He

also dunked the wipes in agitated water for up to 18 hours and came back the next day to find them

intact.”78 Dick stated: “‘I haven’t found any single product that’s (labeled) flushable that’s

acceptable.’”79

       93.        Vancouver conducted similar testing in 2016 and, as discussed above, concluded that

“flushable wipes currently on the market in the U.S., with one possible exception, cannot be

considered safe to flush since they travel through real sewers intact, with no dispersion.”80

Massachusetts

       94.        The town of Lexington, Massachusetts identified that flushing wipes – even if they

are labeled as “flushable” or “septic-safe” – caused and continues to cause damage to sewer systems,

warning that such wipes do not disintegrate like toilet paper.81




77
       Eric Apalategui, Toilet trouble for Portland? Disposable wipes clog region’s sewer pipes,
THE OREGONIAN/OREGONLIVE (Mar. 13, 2014), http://www.oregonlive.com/portland/index.ssf
/2014/03/flushable_wipes_wreck_havoc_on.html.
78
       Id.
79
       Id.
80
       Finley, supra note 28 (Attachment B).
81
      Wipes Labeled as “flushable” Can Cause Damage to Sewer Systems, TOWN OF LEXINGTON,
MA (Apr. 13, 2020), https://www.lexingtonma.gov/water-and-sewer/news/wipes-labeled-
%E2%80%9Cflushable%E2%80%9D-can-cause-damage-sewer-systems#:~:text=Wipes%20
can%20damage%20sewer%20systems,midst%20of%20the%20coronavirus%20pandemic.



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Iowa

       95.     The Water Pollution Control Facility in the city of Ottumwa, Iowa says that wipes

that are sold as “flushable” are in fact not flushable for the city’s sewer pipes. Flushable wipes cause

cities to spend thousands of dollars on premature equipment repair and replacement. Wipes can snag

on sewer pipes, catch passing debris and grease, and create a “ball” that will grow to eventually plug

the pipe. The so-called flushable wipes get drawn into sewer lines and wastewater treatment plant

pumps and clog and damage the pumps.82

Maryland

       96.     WSSC Water, which services 1,00 square miles in Prince George’s and Montgomery

counties in Maryland, issued a video in March 2020 to show “what has to be done at waste water

treatment plants when the system gets clogged by both ‘flushable’ wipes and disinfecting wipes.”83

Lyn Riggins, a WSSC Water spokeswoman, stated that it’s easy to remember what to flush: “‘Flush

only the three “Ps”,’ she said, with the third one being toilet paper. “Nothing else. Keep the wipes

out of the pipes.”’”84

       97.     Flushable Wipes are also causing major issues in Ocean City, Maryland. Jim

Parsons, Chief Deputy Director of Ocean City’s Public Work Department says that although

Flushable Wipes may appear to flush just like toilet paper, “‘when it gets in there, it doesn’t act like




82
        Flushable Wipes Causing Problems in Sewer Pipes, O! CITY OF OTTUMWA (Mar. 17, 2020),
https://www.ottumwa.us/news/_flushable_wipes_causing_problems_in_sewer_pipes/.
83
       John Domeen, Remember: ‘Keep the wipes out of the pipes,’ regional utility says, WTOP
NEWS (Mar. 20, 2020), https://wtop.com/local/2020/03/remember-keep-the-wipes-out-of-the-pipes-
regional-utility-says/.
84
       Id.



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it.’”85 Mr. Parsons said “‘the problem has worsened in recent years[, w]hich is why, a couple years

ago, the town had to purchase a basket-system to remove the loads of wipes.’”86

       98.     Pete Jones of Ocean City said that he has to “constantly rake out baskets full of

flushed wipes to keep the pumping stations flowing.”87 Mr. Jones explained, “‘[t]hat’s a full 5-

gallon bucket worth, and I get that on the average twice a week to three times a week . . . [i]t keeps

building up and building up . . . It clogs the pumps, it clogs the pipeline but it just doesn’t break

down. It clogs everything up.’”88

Hawaii

       99.     In Honolulu, Hawaii, Jesse Broder Van Dyke, a spokesperson for Honolulu Mayor

Kirk Caldwell, described the problems with Flushable Wipes, saying: “‘[t]he wipes clog sewer lines,

pump stations and treatment plants.’”89 Markus Owens, a Honolulu Department of Environmental

Services spokesperson, added, “‘[t]hese wipes also contribute to recurring problems at our pumping

stations; they do not break down, and create additional work for our crews who have to repeatedly

remove them on a monthly or weekly basis.’”90



85
       Delmarvanow.com: Too Many Wipes in Ocean City Pipes, RURAL COMMUNITY
ASSISTANCE PARTNERSHIP (Aug. 8, 2013), https://www.rcap.org/delmarvanow-com-too-many-
wipes-in-ocean-city-pipes/.
86
        ‘Flushable’ Wipes Clog Ocean City Pipes, Cause Headache, WBOC 16 (July 28, 2013),
http://www.wboc.com/story/22952048/flushable-wipes-cause-problems-for-sewer- system.
87
       Id.
88
       Id.
89
      Manjari Fergusson, New Age Toilet Paper Clogging Hanolulu’s Sewer Pipes, Causing
Headaches, HONOLULU CIVIL BEAT (Oct. 1, 2013), https://www.civilbeat.org/2013/10/20030-
new-age-toilet-paper-clogging-honolulus-sewer-pipes-causing-headaches/.
90
       Id.



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                           Defendants Misrepresent Their Wipes as
                     “Flushable” in Marketing Materials and on Packaging

Defendant Costco

       100.      Kirkland Signature Flushable Wipes are marketed and sold by Defendant Costco.

The packaging depicts, in large letters, “flushable wipes,” and the Costco website states that “these

wipes pass extensive testing for flushability and are proven, when flushed one wipe at a time, to pass

through a home’s well-maintained toilet and drain lines or septic system without clogging.”91

Costco also states that its “flushable” wipes are made with “EcoFlush technology” and are “safe for

well-maintained sewers and septics.”92 Specifically, Costco states that “these wipes are also proven

to pass through sewer systems and are compatible with wastewater treatment plants.”93

       101.      Below are representations of recent packaging of Kirkland Signature Flushable Wipes

containing “flushable” and other representations:




91
       Available at: https://www.costco.com/kirkland-signature-moist-flushable-wipes%2C-632-
wipes.product.100350650.html (last visited Aug. 11, 2021).
92
       See id.
93
       See id.



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       102.   The photograph below shows Costco’s Kirkland Signature Flushable Wipes sold in

Charleston, South Carolina in January 2021:



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Defendant CVS

       103.    Defendant CVS’s Total Home “Flushable Moist Wipes” claim to “break[] apart

when flushed,” and be “Hydraspun dispersible,” and “safe for sewer and septic systems.”94

       104.    CVS “Flushable Cleansing Wipes” and CVS “Flushable Cleansing Cloths” claim that

they are “safe for well-maintained sewer and septic systems.” 95 CVS’s “Flushable Cleansing

Wipes” also claim that they are “made with Advanced Flushable Technology[] from 100% plant-

based materials.”


94
      Available at: https://www.cvs.com/shop/total-home-flushable-moist-wipes-refill-prodid-
1010729 (last visited Aug. 11, 2021).
95
         Available at: https://www.cvs.com/shop/cvs-health-flushable-cleansing-wipes-prodid-843837
(last visited Aug. 11, 2021).


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       105.   Below are representations of recent packaging of CVS-branded flushable wipes

containing “flushable” and other representations:




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       106.   The photograph below shows CVS’s Total Home Flushable Moist Cleansing Cloths

sold in Charleston, South Carolina in January 2021:




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Defendant Kimberly-Clark

       107.    Defendant Kimberly-Clark describes its Cottonelle-branded flushable products on its

website, including Cottonelle FreshCare Flushable Wipes and Cottonelle Gentle Plus Flushable

Wipes.96 On its website, Kimberly-Clark states that its Cottonelle flushable wipes use “our patented

SafeFlush Technology,” and that “these innovative products are engineered to rapidly lose strength

as soon as they are flushed.”97 Additionally, Kimberly-Clark states that its Cottonelle flushable


96
         Available at: https://www.kimberly-clark.com/en/brands/ingredients/consumer/cottonelle
(last visited Aug. 11, 2021).
97
        Available at: https://www.kimberly-clark.com/en/news/media-resources/safe-to-flush (last
visited Aug. 11, 2021).



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products “exceed the requirements of widely accepted industry guidelines for flushability and will

clear properly functioning toilets and drain-lines, and are compatible with sewers, pumps, and septic

and municipal treatment systems.”98

       108.      Cottonelle Flushable Wipes are also described as “designed for toilets and tested with

plumbers, so you can rest assured they are sewer and septic safe, and immediately start to break

down after flushing.”99

       109.      Below are representations of recent packaging of Kimberly-Clark Cottonelle

Flushable Wipes containing “flushable” and other representations:




       110.      The photograph below shows Kimberly-Clark’s Cottonelle Flushable Wipes sold in

Charleston, South Carolina in January 2021:




98
       See id.
99
        Available at: https://www.cottonelle.com/en-us/products/cottonelle-flushable-wipes (last
visited Aug. 11, 2021).



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Defendant Procter & Gamble

        111.   Charmin Flushable Wipes, manufactured by Defendant Procter & Gamble, are

marketed as “flushable” and “safe” for septic systems.100

        112.   Below is a representation of recent packaging of Procter & Gamble Charmin

Flushable Wipes containing “flushable” and other representations:




100
       Available at: https://www.charmin.com/en-us/shop-products/flushable-wipes (last visited
Aug. 11, 2021).



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       113.   The photograph below shows Procter & Gamble’s Charmin Flushable Wipes sold in

Charleston, South Carolina in January 2021:




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Defendant Target

        114.   Defendant Target claims that its Up&Up Toddler and Family Flushable Wipes are

flushable and “[s]afe” for sewers and septics.101 Specifically, Target claims that its flushable wipes

are made with “100% plant-based materials” and “[r]efresh” and “clean [] better than dry toilet paper

alone.”102

        115.   Below is a representation of recent packaging of Target Up&Up Flushable Toddler

Wipes containing “flushable” and other representations:




        116.   The photograph below shows Target’s Up&Up Flushable Toddler Wipes sold in

Charleston, South Carolina in January 2021:




101
      Available at: http://www.target.com/p/up-wipes-432ct-toddler/-/A-13991458#prodSlot=
medium_1_3 (last visited Aug. 11, 2021).
102
        Id.



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Defendant Wal-Mart

        117.   In addition to claiming that its Flushable Wipes are in fact “flushable,” Defendant

Wal-Mart purports that its Great Value Flushable Wipes “are an item you’ll want to have on hand

during every bathroom visit.”103 Wal-Mart also claims that its Equate Flushable Wipes “easily break

apart after flushing, reducing the chance for blockages in waste management systems.”104

        118.   Below are representations of recent packaging of Wal-Mart Equate and Great Value-

branded Flushable Wipes containing “flushable” and other representations:

103
       Available at: https://www.walmart.com/ip/Great-Value-Flushable-Wet-Wipes-Fresh-Scent-4-
Packs-of-42-Wipes-168-Total-Wipes/188350013 (last visited Aug. 11, 2021).
104
       Available at: https://www.walmart.com/ip/Equate-Fresh-Scent-Flushable-Wipes-3-pack-144-
count/873057 (last visited Aug. 11, 2021).



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       119.   The photograph below shows Wal-Mart’s Equate Flushable Wipes sold in Charleston,

South Carolina in January 2021:




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Defendant Walgreens

        120.   Defendant Walgreens’ Flushable Cleansing Wipes claim to be “flushable.”105

        121.   Below is a representation of recent packaging of Walgreens Flushable Cleansing

Wipes containing “flushable” and other representations:




105
      Available at: https://www.walgreens.com/store/c/walgreens-flushable-cleansing-wipes-7-x-
5/ID=prod6405377-product (last visited Aug. 11, 2021).



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       122.   The photograph below shows Walgreen’s Flushable Cleansing Wipes sold in

Charleston, South Carolina in January 2021:




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                     Premoistened Non-Flushable Wipes Intended to Be
                  Thrown in the Trash Should Be Labeled as Non-Flushable

       123.    Premoistened, non-woven disposable wipes that are not designed to be flushed should

be labeled clearly and conspicuously with the phrase “Do Not Flush” and a related symbol, to send a

clear message to consumers that most wipes are not suitable for flushing. The failure to do so

exacerbates the problems suffered by STP Operators due to consumer confusion about which types

of wipes, often marketed alongside one another, are suitable for flushing.

       124.    The non-flushable products include: (1) premoistened nonwoven disposable wipes

marketed as baby wipes or diapering wipes; and (2) premoistened nonwoven disposable wipes that

are: (a) composed entirely of or in part of petrochemical-derived fibers; and (b) likely to be used in a

bathroom and have significant potential to be flushed, including baby wipes, bathroom cleaning

wipes, toilet cleaning wipes, hard surface cleaning wipes, disinfecting wipes, hand sanitizing wipes,

antibacterial wipes, facial and makeup removal wipes, general purpose cleaning wipes, personal care

wipes for use on the body, feminine hygiene wipes, adult incontinence wipes, adult hygiene wipes,

and body cleansing wipes.

       125.    Manufacturers, wholesalers, suppliers, retailers, and any other entity responsible for

labeling such wipes should comply with “Do Not Flush,” or similar, labeling options, while ensuring

that the symbol and/or label notice is unobscured and has sufficiently high contrast with the

immediate background of the packaging to render it likely to be seen and read by the ordinary

individual under customary conditions of purchase and use.

                              The FTC Is Not Actively Investigating
                                the “Flushable” Wipes Industry

       126.    Upon information and belief, the only investigation or inquiry by the FTC that has

been closed with formal resolution pertains to the product manufactured by Nice-Pak and sold by

Costco between 2011 and 2014.


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        127.   Based upon publicly available information, the FTC opened investigations and/or

inquiries into retailers’ and manufacturers’ advertising claims associated with so-called “flushable”

products in or about early 2014.106

        128.   On May 18, 2015, the FTC served a complaint on Nice-Pak, alleging that Nice-Pak

violated the FTC Act, 15 U.S.C. §§41 et seq., by misrepresenting that the iteration of its wipes

described as “moist toilet tissue” composed of “non-woven fabric, specifically non-elemental

chlorine bleached wood pulp, bicomponent fibers, and EP907 repulpable binder,” which were sold

from 2011 to 2014, were: 1) safe for sewer systems; 2) safe for septic systems; 3) capable of

breaking apart shortly after being flushed; and 4) safe to flush.107

        129.   According to the FTC, whatever tests were used and performed by Nice-Pak, its

retailers, or anyone on their behalf, to substantiate those representations did not reflect real world

household plumbing or septic conditions.

        130.   Based upon publicly available information, the FTC complaint was based solely on a

prior – no longer marketed or sold – version of Nice-Pak’s so-called “flushable” product,

manufactured by Buckeye. The iterations differ based largely on the “substrate” (i.e., the raw




106
       See, e.g., Letter Regarding Similar Flushable Wipes Cases at 2, Kurtz v. Kimberly-Clark
Corp., et al., No. 1:14-cv-01142 (PKC)(RML) (E.D.N.Y. Nov. 14, 2016), ECF No. 256; see also,
Letter Notifying Court the FTC Concluded Its Investigation of the Kimberly-Clark Corporation,
Kurtz v. Kimberly-Clark Corp., et al., No. 1:14-cv-01142 (PKC)(RML)(E.D.N.Y. July 15, 2016),
ECF No. 228 (discussing closing of investigation).
107
        See Complaint at 1-2, In the Matter of Nice-Pak Products, Inc., No. C-4556, (F.T.C., Oct. 30,
2015), available at: https://www.ftc.gov/system/files/documents/cases/151102nice-pakcmpt.pdf; see
also Press Release, Wet Wipe Manufacturer Agrees To Substantiate “Flushability” Advertising
Claims under Settlement with FTC, (May 18, 2015), available at: https://www.ftc.gov/news-
events/press-releases/2015/05/wet-wipe-manufacturer-agrees-substantiate-flushability. The FTC
“issues an administrative complaint when it has ‘reason to believe’ that the law has been or is being
violated, and it appears to the Commission that a proceeding is in the public interest.” Id.



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materials or “base sheet” associated with the flushable products) which forms the basis for the

flushable products.108

        131.   The Buckeye iteration was manufactured from 2011 through at least 2013, and was

discontinued in early 2014. A different iteration, manufactured by Sigma in early 2014, used a

modified formula and was created in an attempt to improve their performance given the knowledge

that the previous product did not break down.

        132.   On October 30, 2015, the FTC issued the final Consent Order with Nice-Pak.

        133.   The Consent Order defined “flushable” as “disperses in a sufficiently short amount of

time after flushing to avoid clogging, or other operational problems in, household and municipal

sewage lines, septic systems, and other standard wastewater equipment” and provided

recommendations for what is considered an accurate means for substantiating representations about

wipes’ dispersability.

        134.   According to the Consent Order, when marketing, labeling and/or making any

“flushable” or related representations, Nice-Pak must possess and rely upon:

        [C]ompetent and reliable evidence, which, when appropriate based on the expertise
        of professionals in the relevant area must be competent and reliable scientific
        evidence, that, when considered in light of the entire body of relevant and reliable
        evidence, is sufficient in quantity and quality based on standards generally accepted
        in the relevant fields to substantiate that the representation is true.109

        135.   Under the Consent Order, any tests, analyses, research, studies, or other evidence

purporting to substantiate any of the above representations must:

        A.      demonstrate that the Covered Product disperses in a sufficiently short amount
        of time after flushing to avoid clogging, or other operational problems in, household


108
       Memorandum & Order Certifying Class Actions, Kurtz v. Kimberly-Clark Corp., et al.,
No. 1:14-cv-01142 (PKC)(RML) (E.D.N.Y. Mar. 27, 2017), ECF No. 296.
109
        Consent Order at 2.



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        and municipal sewage lines, septic systems, and other standard wastewater
        equipment; and

        B.     substantially replicate the physical conditions of the environment in which the
        Covered Product is claimed, directly or indirectly, expressly or by implication, to be
        properly disposed of; or, if no specific environment is claimed, then in all
        environments in which the product will likely be disposed of.110

        136.    The Consent Order also required Nice-Pak to notify all of its customers, wholesalers

and retailers that manufactured or advertised its Flushable Wipes products to “immediately stop

using all packaging, advertising, and marketing materials previously provided to [them] by Nice-Pak

about these wipes.”111

        137.    The Consent Order concluded that Nice-Pak’s Buckeye product: (1) should not have

been labeled as “flushable;” (2) should not have been labeled as “safe for sewer systems” or “safe for

septic systems”; and (3) should not have represented that it “breaks apart shortly after flushing.”

        138.    However, the Consent Order did not address or establish: (1) testing protocols that

must be followed; (2) how often any testing must be performed, if ever; (3) which independent third

party or parties can be used for testing; or (4) any enforcement mechanisms for products that fail

testing (e.g., penalties, re-labeling, or removal from retail shelves).

        139.    The FTC did not – explicitly or implicitly – permit or prohibit any other iteration of

wipes to be marketed or sold as flushable.

        140.    In the years following the issuance of the Consent Order, the FTC has not acted to

prevent other companies from misrepresenting their wipes as “flushable,” and has not stepped in to

regulate the industry. Based on publicly available information, there is no indication that the FTC




110
        Id. at 3.
111
        Id. at 7 (Attachment A).



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plans to open any investigations related to flushable products or create enforcement mechanisms

targeted at mislabeled flushable products.

        141.    On July 27, 2016, the FTC stated, that it does not intend to prescribe trade regulation

rules in relation to flushability issues.112 The FTC refers to its Consent Order with Nice-Pak for

guidance on the Commission’s views regarding representations of “flushability.” Because the FTC

has not shown an interest in this subject matter since 2015 and has even expressly declined to act,

judicial resolution of Plaintiff’s claims is both necessary and appropriate.

                               CLASS ACTION ALLEGATIONS

        142.    Plaintiff brings this action pursuant to Federal Rules of Civil Procedure 23(a) and

(b)(2) individually and as a class action on behalf of the following proposed classes:

        South Carolina STP Operators Class: All STP Operators in South Carolina in
        whose systems Defendants’ Flushable Wipes are flushed.

        Nationwide STP Operators Class: All STP Operators in the United States in whose
        systems Defendants’ Flushable Wipes are flushed.

        143.    The South Carolina STP Operators Class and the Nationwide STP Operators Class

are referred to herein as the “Classes,” and members of those classes are referred to herein as “Class

members.”      Upon completion of discovery with respect to the scope of the Classes, Plaintiff

reserves the right to amend the Class definitions. Excluded from the Classes are Defendants, their

parents, subsidiaries and affiliates, directors and officers, and members of their immediate families.

Also excluded are any entities in which Defendants have a controlling interest and any of the legal

representatives, heirs, or assigns of Defendants.

        144.    Numerosity: The Classes are so numerous that joinder of all individual members is

impracticable. While the exact number and identities of members of the Classes are unknown to


112
        Belfiore v. Procter & Gamble Co., 311 F.R.D. 29 (E.D.N.Y. 2015).



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Plaintiff at this time and can only be ascertained through appropriate discovery, upon information

and belief, Plaintiff alleges that the Classes are comprised of thousands of individual members

geographically disbursed throughout the United States. The number of Class members and their

geographical disbursement renders joinder of all individual members impracticable if not impossible.

       145.    Commonality: There are questions of fact and law common to members of the

Classes including, inter alia, the following:

               (a)     whether Defendants mislabel their Flushable Wipes so as to have consumers

believe that their Flushable Wipes will not cause harm to sewer systems in their area;

               (b)     whether Defendants’ business practices violate South Carolina law;

               (c)     whether Defendants knew or should have known that the labeling on their

Flushable Wipes was false, misleading or deceptive when issued;

               (d)     whether Defendants mislead consumers into believing that flushing their

Flushable Wipes will not have adverse effects on sewer systems;

               (e)     whether Defendants sell, distribute, manufacture or market Flushable Wipes in

South Carolina and nationwide that are in fact flushable;

               (f)     whether Defendants’ Flushable Wipes are safe for sewer systems; and

               (g)     whether Plaintiff and Class members are entitled to injunctive relief.

       146.    Typicality: Plaintiff’s claims are typical of the Class members it seeks to represent.

Plaintiff and all other Class members are likely to sustain similar future injuries, namely, clogging of

their sewers or septic systems caused by Flushable Wipes, arising out of Defendants’ common

course of conduct as described herein.

       147.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Classes

because Plaintiff’s claims correspond with the claims of the other Class members. Plaintiff is




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willing and able to vigorously prosecute this action on behalf of the Classes, and Plaintiff has

retained competent counsel experienced in litigation of this nature.

        148.    Plaintiff brings this action under Rule 23(b)(2) because:

                (a)      the prosecution of separate actions by individual Class members would create

a risk of inconsistent or varying adjudication with respect to individual Class members that would

establish incompatible standards of conduct for Defendants;

                (b)      the prosecution of separate actions by individual Class members would create

a risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

interests of other Class members not parties to the adjudications, or substantially impair or impede

their ability to protect their interests; and/or

                (c)      Defendants have acted or refused to act on grounds generally applicable to the

Classes, thereby making final declaratory and/or injunctive relief with respect to Class members as a

whole appropriate.

        149.    The undersigned counsel for Plaintiff and the Classes request that the Court appoint

them to serve as Class counsel; first on an interim basis and then on a permanent basis pursuant to

Federal Rule of Civil Procedure 23(g). Undersigned counsel will fairly and adequately represent the

interests of the Classes; have identified or investigated the Classes’ potential claims; are experienced

in handling class actions, other complex litigation, and claims of the type asserted in the action;

know the applicable law; will commit sufficient resources to represent the Classes; and are best able

to represent the Classes.

                                               COUNT I

                                                   Nuisance

        150.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs as

if fully set forth herein.


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       151.    Plaintiff and Class members have property rights and privileges in their sewer lines,

pump stations, lift stations, wastewater treatment plants and/or waste disposal equipment described

herein, including those that have been and/or will be impaired by Flushable Wipes.

       152.    The nuisance conditions caused, contributed to, maintained, assisted and/or

participated in by Defendants substantially and unreasonably interfere with, obstruct and/or disturb

Plaintiff and Class members’ rights to use and enjoy their sewer lines, pump stations, lift stations,

wastewater treatment plants and/or waste disposal equipment.

       153.    Defendants’ wrongful actions, as alleged herein, have interfered with Plaintiff and

Class members’ rights and property interests and their use and enjoyment of those rights and

interests by causing clogs. Once Flushable Wipes travel through sewer systems and sewage

treatment plants, they comingle, causing them to become fungible and facilitating/causing blockages.

       154.    The wrongful activity of the Defendants, as alleged herein, results in excessive,

unnecessary, and costly maintenance and repairs. This includes additional proactive maintenance

and the installation of expensive systems such as grinder pumps in an effort to reduce the impacts of

Flushable Wipes. Thus, the nuisance conditions caused, contributed to, maintained, assisted and/or

participated in by Defendants have resulted in significant harm to Plaintiff and Class members’

sewer lines, pump stations, lift stations, wastewater treatment plants and/or waste disposal

equipment.

       155.    The clogging of Plaintiff and Class members’ sewer lines, pump stations, lift stations,

wastewater treatment plants and waste disposal equipment alleged herein has varied and continues to

vary over time.

       156.    Each Defendant causes, maintains, assists and/or participates in such nuisance, and is

a substantial contributor to such nuisance.




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        157.    Defendants, each of whom supplies, designs, manufactures, markets, distributes,

delivers and/or otherwise sells Flushable Wipes that are used, discharged, disposed of or otherwise

flushed into Plaintiff and Class members’ sewer lines, pump stations, lift stations, wastewater

treatment plants and/or waste disposal equipment, engage in affirmative conduct, namely labeling

the wipes as “flushable,” that causes, contributes to, maintains and/or assists in the creation of the

nuisance alleged herein.

        158.    Each Defendant was or should have been aware that the flushing of Flushable Wipes

would result in, among other harms, significantly clogging of sewer lines, pump stations, lift

stations, wastewater treatment plants and waste disposal equipment.

        159.    As a direct and proximate result of Defendants’ actions as alleged herein, Plaintiff

and Class members’ sewer lines, pump stations, lift stations, wastewater treatment plants and waste

disposal equipment are clogged by buildups of Flushable Wipes as they continuously comingle and

accumulate to form blockages. As a direct and proximate result of Defendants’ acts and omissions

as alleged herein, Plaintiff and Class members will continue to incur costs and expenses related to

the investigation, treatment, remediation and monitoring of problems due to the flushing of

Flushable Wipes.

                                             COUNT II

                                              Trespass

        160.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs as

if fully set forth herein.

        161.    Plaintiff and Class members own, possess and actively exercise their rights to

appropriate and use their sewer lines, pump stations, lift stations, wastewater treatment plants and/or

waste disposal equipment described herein, including those that have been and will be clogged by

Flushable Wipes.


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       162.    It is Defendants’ intention when manufacturing and selling Flushable Wipes that the

public flush them down their toilets, and they actively encourage customers to flush them by labeling

them as “flushable,” “safe for sewer and septic systems,” or other invitations/representations of

flushability. This conduct is the actual and proximate cause of Flushable Wipes’ invasion into

Plaintiff and Class members’ property, including sewer lines, pump stations, lift stations wastewater

treatment plans and other waste disposal equipment owned and/or operated by Plaintiff and Class

members. The damage to Plaintiff and Class members’ property is the direct result of Defendants’

intentional conduct.

       163.    By designing wipes that do not disperse in a reasonable amount of time and

encouraging consumers to flush them, Defendants are each a substantial factor causing the ongoing

damage to Plaintiff and Class members’ property, and each is jointly responsible for the injuries and

damage being caused by the following affirmative conduct:

               (a)     Defendants participate in the improper flushing of Flushable Wipes by

intentionally instructing consumers about the purportedly proper disposal methods for Flushable

Wipes, including instructing users to dispose of Flushable Wipes directly into the toilet and

intentionally, recklessly, and/or negligently calibrating, designing and manufacturing Flushable

Wipes in such a manner which causes them to be routinely flushed into toilets. As a result of this

activity, Flushable Wipes clog Plaintiff and Class members’ sewer lines, pump stations, lift stations,

wastewater treatment plants and/or waste disposal equipment, and otherwise intrude upon and affect

Plaintiff and Class members’ possessory interests;

               (b)     Defendants intentionally instruct consumers about the disposal of their

Flushable Wipes through product labels; advertisements funded, published, and distributed by

Defendants; and through other literature. Defendants recommended and continue to recommend that




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Flushable Wipes be flushed down the toilet notwithstanding that Defendants know or should know

that Flushable Wipes clog sewer lines, pump stations, lift stations, wastewater treatment plants and

waste disposal equipment, posing a significant problem for Plaintiff and Class members. As a result,

when Flushable Wipes were and are disposed of in toilets pursuant to the techniques recommended

by Defendants, they clog and otherwise intrude upon and damage Plaintiff and Class members’

property;

               (c)     At all relevant times Defendants: (1) knew and/or reasonably should have

known, and continue to know, that Flushable Wipes cause property damage; and (2) had either not

conducted adequate testing to determine the potential effects Flushable Wipes had on plumbing and

sewer systems or unreasonably interpreted any such testing they had conducted. Even though

Defendants had sufficient information to determine that Flushable Wipes posed a threat to properly

functioning sewer lines, pump stations, lift stations, wastewater treatment plants and waste disposal

equipment, they did not modify their disposal instructions or provide the appropriate advice,

instruction or information to consumers regarding proper disposal and use needed to avoid build up

and clogging of said sewer lines, pump stations, lift stations, wastewater treatment plants and waste

disposal equipment; and

               (d)     Defendants knew or should have known that Flushable Wipes clog sewer

lines, pump stations, lift stations, wastewater treatment plants and waste disposal equipment.

Defendants instructed, requested and/or induced these acts (and continue to do so) and are a

substantial factor in causing the resulting harm to Plaintiff and Class members’ possessory interests,

and further aid and abet this conduct.




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        164.    The damage done to Plaintiff and Class members’ sewer lines, pump stations, lift

stations, wastewater treatment plants and/or waste disposal equipment alleged herein has varied and

continues to vary over time.

        165.    Plaintiff and Class members have not consented to, and do not consent to, the

invasion of their property by Flushable Wipes. Based on Plaintiff and other Class members’ public

statements and requests for the public to stop flushing Flushable Wipes, Defendants know or

reasonably should know that Plaintiff and Class members do not consent to this trespass.

        166.    As a direct and proximate result of Defendants’ acts and omissions as alleged herein,

Plaintiff and Class members’ sewer lines, pump stations, lift stations, wastewater treatment plants

and waste disposal equipment are damaged by Flushable Wipes, causing Plaintiff and Class

members to incur investigation, treatment, remediation and monitoring costs and expenses.

                                             COUNT III

                             Strict Products Liability – Defective Design

        167.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs as

if fully set forth herein.

        168.    Each Defendant designs, manufactures, formulates, packages, distributes, promotes,

markets and/or sells Flushable Wipes products designed and/or marketed to break up and be safe for

use in household and public sewer conveyance and treatment systems.

        169.    Consumers use Flushable Wipes in a reasonably foreseeable manner and without

substantial change in the condition of such products.

        170.    Because Flushable Wipes do not conform to the definition of “flushable,” they are

unreasonably dangerous and unfit for their intended use. Defendants knew, or should have known,

that the use of Flushable Wipes in their intended manner results in the clogging and disruption of

sewer lines, pump stations, lift stations, waste disposal equipment, and wastewater treatment plants.


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       171.    Defendants’ products, which are flushed down toilets and then enter Plaintiff’s septic

system, are defective in design and unreasonably dangerous, are not designed or adequately designed

to break down, and therefore are mislabeled as “flushable.” Defendants’ wet wipes result in the

direct or indirect harm to Plaintiff and Class members’ sewer lines, pump stations, lift stations and

wastewater treatment plants because: (a) Defendants did not focus on dispersability when designing

their Flushable Wipes, thus ignoring the only definition of “flushable” that would make the wipes

“safe for sewer and septic systems;” and (b) Defendants’ design of their Flushable Wipes products

causes them to comingle and become fungible as they flow through a sewer system, making them a

significant or primary cause of clogging and disruption of sewer lines, pump stations, lift stations

and wastewater treatment plants owned and/or operated by Plaintiff and Class members.

       172.    At all times relevant to this action, including presently:

               (a)     Defendants were aware of the typical waste and disposal practices resulting

from the intended use of their Flushable Wipes products;

               (b)     Defendants were aware of the extended time needed for Flushable Wipes to

break down. Despite such knowledge, Defendants intended their Flushable Wipes to be used in such

a manner that would result in clogs and disruptions of sewer systems, pump stations, lift stations and

wastewater treatment plants;

               (c)     Defendants should not have labeled the products as “flushable” because they

failed to design their Flushable Wipes products to appropriately break down, causing a continuous

problem for pipes, sewers, treatment plants, pumps and/or other wastewater or sewage equipment;

               (d)     Defendants knew, or should have known, of appropriate redesigns and/or

modifications to protect against the clogging associated with flushing anything stronger than toilet




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paper, especially a tightly woven wet wipe, down the toilet. Defendants negligently and/or

consciously disregarded this knowledge and failed to redesign and/or modify the Flushable Wipes;

               (e)     Defendants represented to consumers and the general public that the Flushable

Wipes products they sold would degrade into harmless substances and would not cause clogging or

other harm to sewer lines, pump stations, lift stations and wastewater treatment plants. At the time

these representations were made, Defendants knew, or should have known, these representations

were false, misleading, and/or that there was no reasonable basis to believe that they were true;

               (f)     Flushable Wipes cause clogging of the sewer lines, pump stations, lift stations

and wastewater treatment plants owned and/or operated by Plaintiff and Class members when they

are used and disposed of by consumers pursuant to Defendants’ recommended application and

disposal procedures set forth on product packaging, advertisements, oral statements and other means

of communication; and

               (g)     The Flushable Wipes manufactured by Defendants are defective products, are

not designed to break down, and therefore are mislabeled as “flushable,” because, among other

things: (1) Defendants’ Flushable Wipes cause extensive damage to the plumbing of sewer lines,

pump stations, lift stations and wastewater treatment plants; (2) the continued use of Defendants’

Flushable Wipes poses a significant threat to private and public waste disposal systems;

(3) Defendants fail to provide adequate warnings of the known and foreseeable risk of the use of

Flushable Wipes; and (4) Defendants fail to conduct adequate scientific studies to evaluate the

effects of flushing Flushable Wipes on sewer lines, pump stations, lift stations and wastewater

treatment plants.

       173.    The above-described defects in Defendants’ Flushable Wipes product existed when

the Flushable Wipes left Defendants’ possession, and still exist today.




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          174.   Defendants’ Flushable Wipes are and will continue to be harmful to an extent beyond

that which would be contemplated by the ordinary consumer. The risk of harm to sewer lines, pump

stations, lift stations and wastewater treatment plants posed by Flushable Wipes outweighs and will

continue to outweigh the cost to the Defendants of reducing or eliminating such risk.

          175.   As a direct and proximate result of the defects alleged herein, certain of Plaintiff and

Class members’ sewer lines, pump stations, lift stations and wastewater treatment plants have been

clogged with Flushable Wipes and will likely be clogged again.

          176.   As a direct and proximate result of Defendants’ acts and omissions as alleged herein,

Plaintiff and Class members will incur investigation, treatment, remediation and monitoring costs

and expenses related to the effect of Flushable Wipes on Plaintiff and Class members’ sewer lines,

pump stations, lift stations and wastewater treatment plants.

          177.   Plaintiff is informed, believes and alleges that as a further direct and proximate result

of the acts and omissions of Defendants alleged herein, Plaintiff and Class members will sustain

substantially increased expenses and loss of the use of their sewer lines, pump stations, lift stations,

wastewater treatment plants and waste disposal equipment, causing them significant injury and

damage. Plaintiff and Class members are also entitled to costs and prejudgment interest as permitted

by law.

          178.   Defendants acted and continue to act maliciously, wantonly, recklessly and with

conscious disregard of the known risks of injury to others, including Plaintiff and Class members.

                                              COUNT IV

                             Strict Products Liability – Failure to Warn

          179.   Plaintiff repeats and realleges the allegations contained in all preceding paragraphs as

if fully set forth herein.




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       180.    Defendants design, manufacture, formulate, promote, market and/or distribute

Flushable Wipes products.

       181.    Defendants’ Flushable Wipes are used by consumers in a reasonably foreseeable

manner and without substantial change in the condition of such products, and Defendants know that

consumers purchase and use Flushable Wipes without inspection for defects.

       182.    Defendants are aware that the use of Flushable Wipes purchased or otherwise

acquired (directly or indirectly) from them would result in their Flushable Wipes being flushed down

toilets and subsequently entering sewer lines, pump stations, lift stations, wastewater treatment

plants and waste disposal equipment owned and/or operated by Plaintiff and other Class members.

       183.    Defendants knew or should have known that if their Flushable Wipes did not break

down quickly enough, significant clogging of Plaintiff and Class members’ sewer lines, pump

stations, lift stations, wastewater treatment plants and waste disposal equipment occurs, making the

product unreasonably dangerous.

       184.    Despite the known and/or foreseeable risk of clogging sewer lines, pump stations, lift

stations, wastewater treatment plants and waste disposal equipment associated with the use of

Flushable Wipes, Defendants fail to provide adequate warnings to consumers and other users or to

take any other precautionary measures to mitigate those hazards.

       185.    Defendants fail to describe such dangers or provide any precautionary statements

regarding such hazards in the labeling of their Flushable Wipes products.

       186.    As a direct and proximate result of Defendants’ failure to warn of the dangers posed

by flushing Flushable Wipes, certain of Plaintiff and Class members’ wastewater equipment have

been and will continue to be clogged by Flushable Wipes.




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         187.   As a direct and proximate result of the Defendants’ acts and omissions as alleged

herein, Plaintiff and Class members incur investigation, treatment, remediation and monitoring costs

and expenses related to the clogging of sewer lines, pump stations, lift stations, wastewater treatment

plants and waste disposal equipment by Flushable Wipes.

                                             COUNT V

                                             Negligence

         188.   Plaintiff repeats and realleges the allegations contained in all preceding paragraphs as

if fully set forth herein.

         189.   Defendants have a duty to use due care in the design, manufacturing, formulation,

handling, control, disposal, sale, labeling, and instructions for use and disposal of Flushable Wipes

to prevent clogging of Plaintiff and Class members’ sewer lines, pump stations, lift stations,

wastewater treatment plants, and/or waste disposal equipment with Flushable Wipes.

         190.   Defendants negligently, carelessly, and recklessly design, manufacture, formulate,

handle, label, instruct, control, market, promote and/or sell Flushable Wipes products and/or

negligently recommend disposal techniques for Flushable Wipes products. As a result, they directly

and/or proximately cause Plaintiff and Class members’ sewer lines, pump stations, lift stations,

wastewater treatment plants, and/or waste disposal equipment to become clogged by Flushable

Wipes.

         191.   As a direct and proximate result of Defendants’ acts and omissions as alleged herein,

Plaintiff and Class members’ sewer lines, pump stations, lift stations, wastewater treatment plants,

and waste disposal equipment become clogged after Flushable Wipes enter sewer systems and

sewage treatment plants.

         192.   As a direct and proximate result of Defendants’ acts and omissions as alleged herein,

Plaintiff and Class members incur costs and expenses related to the clogging of sewer lines, pump


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stations, lift stations, wastewater treatment plants and waste disposal equipment caused by Flushable

Wipes, including costs and expenses associated with unclogging, investigating, treating, remediating

and monitoring such clogs and otherwise maintaining sewage systems free from the buildup of

Defendants’ Flushable Wipes.

       193.    For the reasons set forth and specifically alleged above, Defendants are acting

maliciously, wantonly, recklessly and with conscious disregard of the known risks of injury to

others, including Plaintiff and Class members.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of itself and all others similarly situated, prays for relief

and judgment against Defendants as follows:

       A.      An order certifying the Classes under the appropriate provisions of Federal Rule of

Civil Procedure 23, as well as any appropriate subclasses, and appointing Plaintiff as a representative

of the Classes and the undersigned counsel as Lead Counsel to represent the Classes;

       B.      An order declaring Defendants’ practices to be improper, unfair, unlawful and/or

deceptive;

       C.      An order enjoining Defendants from marketing and selling their Flushable Wipes as

“flushable” until their labeling is truthful or otherwise not deceptive;

       D.      An order enjoining Defendants from marketing and selling their Flushable Wipes as

being safe for sewer systems until their labeling is truthful or otherwise not deceptive;

       E.      An order enjoining Defendants from marketing and selling their Flushable Wipes as

being biodegradable until their labeling is truthful or otherwise not deceptive;

       F.      An order enjoining Defendants from marketing and selling their Flushable Wipes as

capable of breaking down during or after flushing until their labeling is truthful or otherwise not

deceptive;


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       G.     An order seeking appropriate labeling changes to Defendants’ non-flushable products

to avoid confusion and further damage to the Classes;

       H.     An order for pre- and post-judgment interest to the Classes, as allowed by law;

       I.     An order for reasonable attorneys’ fees and costs to counsel for the Classes if and

when pecuniary and non-pecuniary benefits are obtained on behalf of the Classes; and

       J.     Granting such other and further relief as is just and proper.

                                       JURY DEMAND

       Plaintiff hereby demands a trial by jury.

DATED: August 12, 2021                         AQUALAW PLC
                                               F. PAUL CALAMITA (ID #12740)


                                                              /s/ F. Paul Calamita
                                                             F. PAUL CALAMITA

                                               6 South Fifth Street
                                               Richmond, VA 23219
                                               Telephone: 804/716-9021
                                               804/716-9022 (fax)
                                               paul@aqualaw.com

                                               ROBBINS GELLER RUDMAN
                                                 & DOWD LLP
                                               SAMUEL H. RUDMAN
                                               VINCENT M. SERRA (admitted pro hac vice)
                                               SARAH E. DELANEY
                                               58 South Service Road, Suite 200
                                               Melville, NY 11747
                                               Telephone: 631/367-7100
                                               631/367-1173 (fax)
                                               srudman@rgrdlaw.com
                                               vserra@rgrdlaw.com
                                               sdelaney@rgrdlaw.com

                                               Attorneys for Plaintiff




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                                     CERTIFICATE OF SERVICE

          I, F. Paul Calamita, hereby certify that on August 12, 2021, I authorized a true and correct copy

of the foregoing document to be electronically filed with the Clerk of the Court using the CM/ECF

system, which will send notification of such public filing to all counsel registered to receive such

notice.




                                                                   /s/ F. Paul Calamita
                                                                  F. PAUL CALAMITA
